Case 1:23-cv-01599-ABJ Document 16-1 Filed 06/06/23 Page 1 of 37




         EXHIBIT A-25
                                                                                    Case 1:23-cv-01599-ABJ Document 16-1 Filed 06/06/23 Page 2 of 37




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 Binance Blog

  AMA with CZ | May                                              8,       2019
  2019-05-08                                                                                                                                                                                                                          Like this post

  On the third live ask-me-anything session with Binance CEO CZ (Changpeng Zhao), he responded to questions
  about a wide variety of topics regarding Binance’s operations. Watch the full video session here                                                                                    .                                               Share Posts




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  Highlights:

  -    CZ confirms an upcoming margin trading feature for Binance                                                .




  -    CZ talks about the timeline for the next Binance Launchpad token sale project.
                                                                                                                                                                                                                                      Crypto Futures Definitions and
  -    CZ reveals plans for        a   possible future by Binance.                                                                                                                                                                    Examples: 7 Trading Terms Every
                                                                                                                                                                                                                                      Trader Should Know!
  -    Plus, the latest updates from CZ on the security incident                                          .




  - Binance will take care of affected accounts from the incident through the SAFU fund and ensure the integrity
  of its networks and platforms before resuming its services.

  -UPDATE: Following the AMA, CZ confirmed that Binance will not pursue the re-org approach on the Bitcoin
  network to resolve the matter.

  (   https://twitter.com/cz_binance/status/1125996194734399488                                                       )
                                                                                                                                                                                                                                      Metaverse Tokens: What, Why and How
                                                                                                                                                                                                                                      To Buy Them


  Read the     full   AMA text below. (This AMA has been edited and condensed for clarity.)



  Hello guys, this      is   CZ from Binance.

  As you know, we had a security incident yesterday. I think the blog post pretty much explains it, and it's a very
  advanced persistent hacking effort. They use both external and internal methods. It's probably the most
  advanced [method] and the hackers are very patient. So they don't move as soon as they have one account.

  So it's a bit unfortunate and our security measures were not able to stop that withdrawal, which cost us 7,000
  BTC, around US$40 million. But luckily, we do have the SAFU safety fund set up to cover [those costs]. It is a
  very unfortunate incident, but it is what it is.

  Right now our main effort is to focus on rebuilding and recovering the system. We need to make sure that we
  completely eradicate any trace of the hackers across all of our data just in case. It is a very tedious process. So,
  unfortunately, before we finish that [process], we will not be able to release withdrawals or accept deposits.
  We want to make sure everything is safe. Because we have a very large set of data and a very large system
  architecture, we do estimate that it will take about a week.

  The Binance team is encouraging everyone to change the API keys if you trade with API. We highly recommend
  people to change their 2FA - to reset, disable and re-enable it. We advise people to take those security
  measures as a precaution.

  A number of people have pledged very strong support, including Justin Sun, Coinbase, QKC, and a number of
  other exchanges and projects in our space. The current situation is, we do have the safety funds to cover the
  US$40 million, so we are completely OK there.

  Itdoes hurt us, but we are able to cover that. We have been working with other exchanges to block deposits
  from those hacked addresses.

  There have been questions on whether we want to issue a rollback on the Bitcoin network. Because right now,
  the 7,000 BTC, if we distribute that to miners, it will be far higher than what they got paid for in the last few
  blocks. But there are concerns that if we do a rollback on the Bitcoin Network at that scale, [there will be]
  some negative consequences in terms of destroying credibility for Bitcoin. So the team is still deciding on that,
  and we're running through the numbers and checking everything.

  We will try to maintain very high transparency, and we also enlisted community help. So the [Bitcoin network]
  reorg is an idea that came from the community, I actually did not know that we could do that, but there are
  serious consequences, so we will take that [suggestion] very cautiously.



  [UPDATE: Following the AMA, CZ confirmed that Binance will not pursue the re-org approach to resolve the
  matter. See more: https://twitter.com/cz_binance/status/1125996194734399488 ]

  I beg people to forgive us in terms of not allowing withdrawal for the next week or so. We do want to make sure
  that we are completely secure and we solve everything before we actually turn things back on, especially the
  deposit and withdrawal part. Security is our main concern, and we are working with and getting help from a
  number of partners.

  So that's as much information as I have on the hacking. And as more information becomes available, I will
  share them proactively. I will remain active on Twitter and all of our accounts will be active.

  People ask me how I feel. To be honest, I don't feel that well, but not in the sense that I feel sick or anything.
  It's just that okay, it's not a great day. But at the same time, we have dealt with different types of pressure at
  different points [before].

  Allof our efforts are focused on rebuilding and making sure everything is secure, and then we will turn on the
  withdraw and deposit [functions] as soon as possible. That will take some time, so

  Please bear with us. There will be a few system upgrades. We will do those that during this week and there
  may be small periods of time where we have to hold trading for a couple of hours here and there for some of
  the core system upgrades because we actually do need to make some changes in the system.



  But other than that, the team is very strong. The team's mentally in very good condition, even though we're
  under pressure and we're dealing with a setback but I think myself and the team, we all have dealt with higher
  pressure situations before and we are okay. Binance will stay, we will stay, and we’ll probably get even stronger
  after this, and we will continue on.

  I apologize for the interruption of service at this instant. We do appreciate your support during this time, and if
  there's anything that you would wish to communicate to us, I think social media is probably the quickest way. I
  am active on Twitter, and you can reach me there.

  So business will continue, so far, many people did try to help us and donate money to us. Our response is the
  same, we are not short on the funds right now. If people want to donate, they should consider donating to
  Binance Charity Foundation and there are different charity programs on there that I've personally pledged to
                                              ,


  donate to, including the CSW incident. I will continue to donate, so none of our efforts will change. We will
  continue our core business.

  So let me go to the comments on Twitter, so that I can address some of the questions that I was previously
  planning to address under better circumstances. Thank you for all your support.



  Is Binance Chain changing from BFT consensus to POS                                         in           the near future?

  Are smart contracts possible [for Binance Chain?]

  I think [the change to POS] is something that's probably for long-term in the future. We want to get the BFT for
  Binance Chain to work on a large extent first. Also, smart contracts are probably mid- to long-term. The current
  focus on Binance Chain is to help people to migrate to Binance Chain and to make it popular.



  On several questions about Binance’s future plans:

  We can't really predict the future too well, and we can't really forecast our detailed plans too much ahead of
  time, and things change. While we're working on a lot of things, we can't really disclose everything that we
  were working on so anything that has to do with the future plans we have is kind of hard to discuss or to
  confirm.



  On several questions about coins not being listed/delisted on Binance:

  That's something that we can't discuss publicly. We do not discuss coins, projects, other exchanges, etc. So for
  any listing and not-listing request, it’s better to talk to the project teams, ask them to submit the Binance
  listing application form. And if you guys want to know, I have a detailed [blog on] listing tips.



  On several questions regarding margin trading, stablecoins, and the next Binance Launchpad project:

  We are working to arrange the next Launchpad project. We have actually gone through great lengths to select
  the right projects for Launchpad, but we have a few candidates already and we are finalizing the candidates for
  the next Launchpad. Hopefully, that will happen in May.

  This time, we will try to shorten the BNB holding period but [the holding amount for Launchpad eligibility] will
                                                                                              ,


  probably still be 50 BNB. I think the lottery system worked quite well last time. A large number of people got
  tokens, so there were fewer complaints on social media. That seems to work, so we'll probably continue [the
  lottery system]. The exact project name [for the next Launchpad sale] will be announced a little bit later, but
  now everything's kind of shifted further out by a week. We’ll use the next week to focus on what we can do to
  resolve this issue and bring Binance.com back fully live as soon as possible.

  There have been internal discussions about stablecoins whether we want to offer our own stablecoin, and
                                                                                                  ,


  there are a few different proposals and plans. Likely, something may happen there But again, plans change                                             .


  very quickly, so we can't really set things in stone or commit to stuff like that.

  I think most people have already seen the margin flags edit in our API. Yes, we are working on a margin
  [trading] system that's rolling out actually very, very soon We are going to first roll out [this system] to a few of
                                                                                                      .


  our key clients, the large traders, so that they can help us test. They also have an agreement with us that, if
  there's a bug or something else [in the system], they will work closely with us [to fix those].

  We will do a gradual rollout of the margin platform. It is actually being beta-tested by our internal team. The
  features and the code are basically done. We're just testing it out for any potential bugs.

  On the fiat side, we launched Binance Singapore last month. If you guys follow me on Twitter, you will see that
  we have had a lot of interaction with Argentina. So that's most likely where the next fiat channel [for Binance]
  will turn on.



  Your hair    is   grey now?

  My hair has always been grey, but it's just slightly grey. I'm actually close a very bright window, which makes
  the grey much more apparent. Also, that may be because I didn't sleep at all last night. So I've been up for 29
  hours. So that helps with the grey hair a little bit as well.



  Are any of this on Binance                 in       the near future: reward and staking, crypto cards, crypto bank?

  We are working with different partners on offering credit cards or being able to spend crypto directly from your
  credit card. I don't know all the exact progress yet, because things happen more or less in a decentralized
  manner in our organization. On the crypto bank question, we are not really looking into the banking business.



  Will Binance ever use USD as a base currency? I know it's your business model not                                                                         to,    but    it   is    inconvenient to
  exchange in Binance and transfer to another exchange to cash out.

  Binance.com is unlikely to offer USD direct trading, but we do have a number of fiat gateways in the works.
  Potentially, some of them will be able to support USD while some of the payment channels, including paying
                                                                                        ,


  with a credit card, are already available.



  Will you open up opportunities to be Binance-validated. Is there                                                        is a   possibility or option to stake coins for
  those who who can be validated?

  That's related to Binance DEX On the Binance Chain, that's a little bit early. We have a very closed network of
                                                      .


  validators running out there. We do not disclose their identities for privacy reasons. And right now we just want
  to make sure that the network works. To be honest, I have not thought too much about the governance model,
  staking, and how to become a validator in the past once Binance Chain gets adoption, that's probably the next
  step, so that will come soon.



  Do Philippine projects have                     a   chance to get listed on Binance exchange?

  At Binance exchange, we don't differentiate between locations or where the project                                                                         is.


  We view the world as one, so every project has the same chance of getting listed on Binance.com.

  Speaking of which, going forward, we will increasingly consider at higher priority projects that have already
  issued tokens on Binance Chain. So there will be some preference there. That would be an easier way to get
  listed.



  Will there ever be         a   drawing tool on the Binance app? (e.g. Horizontal lines, etc.)

  Ihope there will be, but I don't know exactly when that will be. So in terms of development priorities, OCO
  (order-cancels-order feature) is coming we've been working on that for quite a while. But again, that's
                                                                          ,


  probably delayed for about a week now.



  Will we be able to change the indicator settings at some point                                                     in   the future?

  We hope to have that as well, but I think right now there are no immediate projects working on that right now.



  When we sell crypto into USDT, which version are we getting, Omni, Ethereum or Tron ?                                                         ,




  Right now, on USDT on Binance.com, we accept deposits for both Omni and Ethereum ERC20 versions, but the
  withdrawal is only available in Omni right now. As people deposit more ERC20 version and people withdraw
  more Omni version, there will be a point when the two balances flip. Once the ERC20 version reaches more
  than 50% compared to the Omni version, we will probably switch deposits and withdrawals into ERC20 version.
  And then exchange all the Omni version tokens into ERC20. I know Tron has issued their version as well. We
  are looking to see the possibility of supporting that, it's not that we're against it. It's just that we haven't had
  time to do all the development. So that's that.



  Will Binance DEX and Binance Chain be open-source?

  So eventually we will be open-sourcing Binance Chain and Binance DEX, but right now I think it’s more
  important to get some traction on the platform. To be honest, if we open-source right now, all the other
  exchanges just going to release a similar version of that chain. That is a consideration. We want to get some
  adoption first before we fully open source it, but eventually, we will open source everything.



  When do you aim to have                a    cross-chain bridge (for Binance Chain                                         )?


  We want Binance Chain to get some momentum first, so we want to get a number of real projects with real
  market caps to issue on Binance Chain first, and then we’ll consider cross chain bridging. Initially, with the
  existing large-cap tokens, we will probably do pegging through Binance.com. It's not ideal, but that's the
  fastest thing to do.

  Cosmos is trying to do the cross-chain bridging part. But right now they don't have a lot of projects live. They
  don't have a lot of blockchains live on Cosmos. So once they have a lot more projects, it should be quite
  technically feasible for us to connect with Cosmos. So we'll see how that works out.



  How much does Binance charge to host IEOs on average?

  Every project is different. If you do a popular sale on Binance Launchpad, it depends on the project, how many
  users they have, how mature the product is, what kind of services they need from us, how much advisory
  consulting they need from us. So that's that depends on every project. We don't have a set structure.



  SegWit?

  SegWit is on the road map, but it's kind of a lower priority because Bitcoin transactions do work right now,
  especially with Lightning Network, which have taken the load of Bitcoin main network. We want to strive to
  have the safest deposits and withdrawals, so [SegWit] is not a super high priority for us we have got so much
  stuff that's going on.



  What will go on by the end of 2019 for Binance Chain and Binance DEX?

  We just want to increase adoption, to be honest. So we don't really have                                                           a       super-grand goal where we have to
  hit our number, etc.




  Which countries have you visited? Or haven’t visited but are on top of your visit list?

  I don't really have a travel schedule or a travel wish list. I just travel whenever the opportunity presents itself.                                                                                          I

  don't try to go to a country just for touring purposes. I have a feeling that I will travel to many countries just
  because I have to, so I will continue to do that.



  What's your biggest secret?

  I don't really have a lot. We're trying to be as transparent as possible, to the extent possible. So that's not a
  whole lot of Secret Sauce going on here. We just focus on the issues and whenever an issue presents itself, we
  try to resolve it. So now we have a pretty big issue to deal with and we just got to deal with it the best way we
  can.



  Has the Binance DEX launch matched your expectations so far? What are the big learnings so                                                                                        far,   or   is it still
  too early?

  DEX has exceeded my expectations, to be honest. When we first said we were going to develop DEX, that's
  about a year ago. I thought there would be an incremental improvement on the current DEX, but I didn't expect
  it to be so fast and the UI experience to be so smooth. So I think from a product perspective, it has exceeded

  my expectations. Right now I think the tech team collectively has done a fantastic job. Right now, it's really up
  to us to push it out together, with initial adoption, then critical mass, and then after that it should just basically
  spread on its own. So far, it's exceeded my expectations.



  What are the biggest considerations for projects to choose BEP2 token over other choices? Any early
  learnings?

  That's a good question. There's a lot of benefits on choosing BEP2. On the technical side, it is much faster to
  send and receive tokens. It is much cheaper as well and one block confirmation is final. This is instant finality.
  That's all technical merits. On the other side, for the earlier projects that migrate to Binance Chain,
  Binance.com will help push them and we will do joint marketing programs. They will get visibility. They will get
  a lot of exposure.


  Right now it's quite easy to get listed on Binance DEX. As more projects come on to the Chain, the review
  process done by the community, it's done by a thread. Any voting feature will be manipulated, so we didn’t like
  that. The goal is to have at least 10 times more coins on the Binance DEX than on Binance.com, so that we can
  select from Binance DEX the more popular coins on DEX and we will list them on Binance.com. That's kind of
  the goal. There's a lot of incentives on that front.



  How has the progress been on                            fiat   exchanges launched               in          Jersey Uganda and Singapore?
                                                                                                                          ,              ,




  On the fiat exchanges, we’ve been very careful. We follow the local regulatory requirements to the letter. We've
  been very careful not to scale them too aggressively. We don't want to step on anybody's toes or step on any
  land mines, etc. So we’re being very careful with expanding that.

  We want each regulator to be comfortable with what we're doing. For example, in Jersey, we have multiple
  meetings with the regulators and they are very comfortable with the way we're doing things right now. We
  want to be the most compliant fiat exchanges around the world and we’ve adopted a very similar approach in
  Singapore as well. Right now there's only one pair on Singapore, and we are confirming and reconfirming with
  the regulatory authorities that we are doing everything properly. Eventually it will scale, but we're taking a very
  careful and compliant approach.



  Binance has invested in so many early project teams, and also helped to raise funds on Launchpad. Which
  segments are you seeing early signs of success in real-world usable applications/blockchains? What part of
  the ecosystem are you most excited about?

  I don't really have a crystal ball. I can't really predict the future that much, but we do try to invest in
  infrastructure projects – anything that can help build the ecosystem. In terms of applications, I think there are
  a few very obvious ones. There’s payments, e-commerce, etc. There's fundraising which is already probably the
  biggest killer app right now.

  Isee a number of really interesting games coming out of the DApps space, because games can be quite simple
  and especially games today, most people play them on the mobile – it’s a very short period of attention. I think
  gaming probably has a lot of potential.



  Between institution and Retail adoption, which ones are you most excited about? How much                                                                                      is   Binance
  focusing on institutional clients?

  We have rolled out a number of key features for institutional clients, but I think right now, if you look at our
  user base, the majority of them is retail. Again, we don't judge, we don't decide. We just make sure we offer
  choices to people. For example, if large institutions want to come in and they require certain features, we
  would develop it for them. So that's that.



  Final Remarks

  I think the time is pretty tight. I think                          number of people who joined late are
                                                                      a                                                                        still   wondering about the hack or
  the security incident. Let me recap a                           bit very quickly on top of my head.


  The hacker was able to control a large number of user accounts. Some of them could have a lot of funds. They
  were able to structure a withdrawal request in a sense where it did not violate any of our existing security
  checks.

  And so that transaction went out, and that's the transaction we posted                                                           in    the announcement. 7,000 BTC.                                 It is a
  large sum of money. It's equivalent to about US$40 million right now.

  But luckily, we do have the SAFU fund that will be able to cover                                                    it,     and we will cover             all    the funds ourselves
  from the SAFU Insurance Fund. All the users’ funds are okay.

  We do need about a week. We need to go through a very detailed security review process to make sure that the
  system is completely clean. It will take more or less a week or so based on feedback from my team so far. We
  want to make sure everything is secure before we turn on deposits or withdrawals again. You can check on the
  blockchain, that's the only transaction that's suspicious. Our cold wallet is intact.

  The only wallet that’s impacted is the Bitcoin hot wallet.                                          All      the other wallets are fine. The funds are secure. We
  did lose a bit of funds, but we are able to handle that.

  We're just focused on building everything back up. That's the highest priority for the next week or so.

  Regarding the rollback, I do see a lot of people objecting. I think there are some ethical and reputational
  considerations for a Bitcoin blockchain rollback. It’s interesting, that's a tech solution presented to us by the
  community including some of the core members of the Bitcoin development team. I actually didn't know that
  before, it actually never occurred to me, but we will consider it very, very carefully given the feedback we are
  receiving.

  Other than that, I think that's                     all   the time for today.

  Thank you for your support, thank you for your understanding and being patient in waiting for at least a few
  days to a week or so for deposits and withdrawals to be re-opened. Again, we apologize for this and we hope
  that after this incident we will actually become more secure even though we paid a hefty price.

  Thank you so much and please know how much we do appreciate your support. I will be active on Twitter.                                                                                                 If
  you need to reach me, I will be extra active on Twitter for the next little while. Thank you again.



  -    CZ, Binance CEO

  https://twitter.com/cz_binance



  Watch the full video AMA here : https://www.youtube.com/watch?v=CDm-m1FNl1w

  Join the Binance Community Telegram group: https://t.me/binanceexchange




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  How Two Ugandans Help                                               in   Making Crypto                              a     Part of Daily Life
  (Part Two)                                                                                                                                                                                  Like this post
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  “At first, I had a negative impression of cryptocurrency, but after experiencing it, I think it is very quick.                                              It is
                                                                                                                                                                                              Share Posts
  convenient to convert crypto to local currency.” - Vincent, supplies vendor for Binance Charity




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  Read part one of this story, about Dr. James Kimera Ssekiwanuka, founder of Jolly Mercy Learning Centre, on
  this blog  .




  Binance Charity Foundation’s pilot projects in Uganda are improving the lives of 3,700 school students who                                                                                  Binance Blockchain Week 2022: Official
  enjoy free lunch for a full year. But beyond the end beneficiaries of Binance Charity ’s projects, blockchain has                                                                           Announcement
  also improved the lives of people who have contributed to the process of sending aid to those in need.

  Cryptocurrency, the new technology that disrupts local community outreach, has actively made                                                     its   mark to
  people who otherwise would have just received aid passively.

  When Binance Charity introduced its blockchain-powered charity platform, most people are skeptical of
  blockchain and cryptocurrency. Promoting charitable giving by using blockchain is not an easy thing in Africa,
  but we are making it work, thanks to the many Africans who have and helped us advance our cause. We
  introduce you to the people who played huge roles in Africa’s blockchain revolution.                                                                                                        7   NFT Games to Play-to-Earn   in   2022

  At Binance Charity, we want to see to it that every person who participates in our programs also see the benefit
  of blockchain technology. Here’s the story of Vincent, the first vendor to accept cryptocurrency payments for
  the Binance Lunch for Children program, and a cryptocurrency convert.

  We previously talked about Dr. James Kimera Ssekiwanuka (below                                   left),   founder of CALM Africa and Jolly
  Mercy Learning Centre, on this blog           .




  Vincent: “I can’t believe      it’s   real money!”

  Vincent had been struggling with his store for a long time. Before CALM Africa reached out to him to participate
  as a vendor for Binance Lunch for Children program, he had heard about blockchain and even attended a
  seminar. And while he started as a skeptic to blockchain and cryptocurrency, like most Ugandans, he
  eventually agreed to be part of the lunch program because the reputations of Binance and CALM Africa.

  He opened a crypto wallet under Binance Charity’s guidance in January. He used this wallet to receive crypto
  payments from students who got donations from the Lunch for Children program. Nowadays, 3 months after
  his first real contact with crypto assets, his perception of cryptocurrency has totally changed.

  “ Atfirst, I had a negative impression of cryptocurrency, but after experiencing it, I think it is very quick,
  although it is sometimes affected by the network,” said Vincent. “It is convenient to convert crypto to local
  currency.”

  We shot a video on the day he first received the Uganda shillings on his account on Yo!Payment, an aggregator
  that serves as a fiat gateway connected to crypto assets on Binance Uganda We could see the excited             .


  expression on his face during the shoot. He said, “I can’t believe it is real money!”

  Vincent recently opened his second retail store in Kasangati, in the same district where Jolly Mercy Learning
  Centre, the first beneficiary of Binance Lunch for Children, is located. He put up his own capital for the
  expansion of his business, because the good partnership with Binance for Children program reinforces his trust
  in getting the crypto and converting to Ugandan shillings seamlessly. “I am not worried about my business
  development because I think this is a sustainable and long-term project," said Vincent.

  Vincent is also active in raising some suggestions on improving Binance Charity’s programs based on his
  understanding of blockchain in the local context. Vincent thinks that education is critical because most
  Ugandans don’t understand technology. It is also necessary to make crypto wallets accessible for non-
  smartphone users so more people can participate.

  “I have been sharing with my friends about my experience with Binance Lunch for Children program Their                                                  .


  attitude towards blockchain also became positive. My friends are wondering if they can use crypto for their
  normal businesses,” said Vincent.

  Vincent now believes that blockchain technology can make their lives easier and better.

  Donate to the Binance Lunch for Children program on this page To see which schools we are reaching through
                                                                                           .


  the program, go to our website here Read part one of this story here
                                                    .                                                .




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 Binance Blog

  How Two Ugandans Help                                                    in    Making Crypto                              a     Part of Daily Life
  (Part One)                                                                                                                                                                                           Like this post
  2019-05-06


  “Securing food for an active life throughout the year — what Binance Lunch for Children is doing — is one of the
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  most critical things in the fight against poverty.” - Dr. James Kimera Ssekiwanuka (left), founder of Jolly Mercy
  Learning Centre.



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                                                                                                                                                                                                       Binance Labs Makes Strategic
                                                                                                                                                                                                       Investment in STEPN




  May 3, 2019, marked the last day of the first school semester in Uganda. The past three months have been
  unique for Ugandans who were involved in Binance Charity Foundation’s pilot projects in Uganda More than                                               .


  3,700 school students were lucky enough to enjoy free lunch for a full year.                                                                                                                         Binance Launches Payments
                                                                                                                                                                                                       Technology Company, Bifinity
  Looking back during the past three months, lives are being improved, not just the end-beneficiaries who
  received food and supplies that pulled them out of hunger, but also people who have contributed to the
  process of sending aid to those in need. Cryptocurrency, the new technology that disrupts local community
  outreach, has actively made its mark to people who otherwise would have just received aid passively.

  Blockchain is a new vocabulary for the majority of the people in Uganda. When Binance Charity introduced its
  blockchain-powered charity platform, most people didn’t even know what the word “blockchain” meant.
  Promoting charitable giving by using blockchain is not an easy thing in Africa, as the people in the most need
  lack computer and English literacy.                                                                                                                                                                  A Letter from Our CEO: Customer
                                                                                                                                                                                                       Service Upgrades and Our
  However, many Africans who come from different backgrounds have engaged in the whole blockchain charity                                                                                              Commitment to Our Users
  process and helped us advance our cause. We introduce you to the people who played huge roles in Africa’s
  blockchain revolution.

  Here is the story of Dr. James Kimera Ssekiwanuka, founder of CALM Africa and Jolly Mercy Learning Centre.
  Read the story of Vincent, one of the vendors who supply food for the Binance Lunch for Children program, on
  this blog  .




  Dr. James: “Transparency changes the work that I dedicated my whole                                           life   to.”

  James Kimera Ssekiwanuka, or Dr. James, was born in 1961, one of his father’s 28 children from 4 women. He
  grew up with his grandmother, the village herbalist who treated people’s ailments such as malaria.

  In 1986, after the war that brought President Yoweri Museveni into power, the country suffered an AIDS
  epidemic, and a lot of Ugandans perished. Dr. James lost 10 of his siblings to the disease. He was motivated to
  help solve his country’s problem with HIV and AIDS. When he was at the Makarere University, the only
  university in Uganda at the time, he decided to do social administration and social work research because HIV
  was new and it was challenging the society.

  Dr. James was then accepted to Cambridge University, while also working as project development advisor for
  Save the Children. After he finished his master degree in international child welfare and a doctorate from
  Cambridge, he got a job from Save the Children and was sent to Sierra Leone, Liberia, Ghana, Gambia, Ivory
  Coast, and Rwanda for humanitarian work.

  We asked him about his current work with CALM Africa and collaboration with Binance Charity                                                       .




  Binance Charity: What’s your motivation for setting up CALM Africa and the Jolly Mercy Learning Center?

  James: Growing up in a vulnerable community drove me back to Uganda and set up CALM Africa. I was
  qualified to join a UN agency or any of the renowned international NGOs after graduation, but I set up CALM
  Africa because I saw the misery of poverty. Poverty accelerates the rate of diseases. And because of the
  poverty in Uganda, I saw how HIV was able to easily spread, and I saw how children can suffer. It is always
  children been cared.




  “Right now,          it’s   the children who take care of the parents.                    I   wanted to make          a   big change for my country and
  my people.”

  I returned to Uganda to pursue my grandmother’s dream. But later on, I realized that I need to do more than
  this, so I came up with CALM Africa, an organization that advocates for children’s rights and education. I
  wanted the people to join me in fighting for children’s rights in a more meaningful and sustainable manner.

  After CALM Africa I came up with the idea of building Jolly Mercy Learning Center. I have visited many schools,
  learned from their experiences, and thought of building a school where we can be guided by the LEAD
  (learning, excelling, adaptability, discipline) principles.

  Binance Charity: What               is   the most important thing to you? Why you choose to serve the children?

  James: The most important thing for me is to impact lives meaningfully. Am I able to change somebody’s life?
  For children who have been suffering, am I able to put a smile on their faces? That’s the most important thing
  to me.

  “I  made a lot of contributions in establishing the Jolly Mercy Learning Centre. It’s a lot of money. Don’t I want
  to have a good vehicle? Don’t I need a good house? No, I am making a sacrifice. I am building a legacy which
  will last beyond my life.”

  I want to set a good example to children and to others, so I feel very good when people follow my example. I
  want to meaningfully and sustainably affect others. This is the best thing to do. We need to work together to
  change the world, and I have done my part. Even if I die tomorrow, I will die a satisfied person, because I am
  leaving something behind.

  Binance Charity: What               is   the key to African development? How can we ensure sustainability?

  James: Education is always very critical to African development, especially in fighting poverty. The colonists
  first brought education, and now they are bringing the donations. But one critical thing for charity to last is
  sustainability. There is one Chinese saying I like very much: “Don’t give me fish but teach me how to fish.” It’s
  not important how much money you give to Africa, but what matters most to Africa is the transfer of
  technology and skills.

  I don’t know the exact definition of SDG (sustainable development goals). But my definition of SDG is, the
  ability to function and survive for a long time, without needing to depend on others. I want Binance to come
  and equip Africa with skills. In the 17 SDGs, the first goal is to fight poverty. And to empower Africa to have the
  ability to function and survive, not only for today and for tomorrow, the first to do is to fight poverty. This is also
  the goal I want to achieve.

  Sustainability also means creativity, innovation, the ability to create wealth, to stand in front of the public
  without shame, to partner with others and to enjoy your rights as a human-being. And we can only achieve
  such sustainability through education. That’s why what Binance is doing is very important. “ And securing food
  for an active life throughout the year — what Binance Lunch for Children is doing — is one of the most critical
  things in the fight against poverty. When you are poor, you are in a very miserable condition physically, and you
  are even too weak to think. ”

  But when people are eating well, that means they are being nourished physically, and the children are able to
  keep pace with intellectual, emotional, cognitive, and social development. When you begin to fight poverty with
  education, you are beginning to break the vicious cycle of poverty. The ultimate goal we have is to help people
  live a decent life.

  Binance Charity: You mentioned technology several times. Africa has the opportunity to catch up with other
  countries because of new technology like blockchain. But in reality, there is still a huge gap. What do you think
  we can do to bridge this gap and to make sure that Africa benefits from the blockchain revolution?

  James: What’s technology? From my understanding, technology is a mechanism which will make                                                                 life    simpler
  and better. And in Africa, the missing gap is the technology that empowers people to live a happy                                                          life.


  Personally speaking, thanks to global connectivity, many people bring new technology for the sake of
  improving African people’s lives. But people need time to adjust to new technology. So I persuaded my
  colleagues and the children’s parents to be patient and to be willing to listen. We need to adapt to new
  technology because it can make life better. We should stay transparent and open to technology.

  We told Binance that not all our children have identification cards. Some of them don't even remember the day
  when they were born. Some of them haven’t even touched a computer. People here wonder how can they
  adjust to advanced technology such as blockchain I also talked to the minister and command officer. At first,
                                                                                .


  they said, “No, it cannot work,” but they became convinced eventually. There’s no cost of accepting new
  technology. After all, it has been tested, and it showed the advancement of transparency and efficiency in the
  charity area.

  Binance Charity: What               is   your perception about blockchain?

  James: Blockchain is a very interesting technology. On one hand, it increases the transparency of donation.
  What’s the money for? Where will the money go? Every donor can track the money flow online. The money will
  go directly to the end beneficiaries: the students and their parents. Parents transfer the money to the food
  suppliers, and later on, the food is delivered to school and cooked as lunch for all the children, all through
  blockchain.

  Blockchain also increases the willingness of people to donate because the money flow can be monitored. On
  the other hand, it reduces a lot of paperwork. Back then, we always needed receipts, documents, certifications,
  and other papers to show accountability.

  “With blockchain,             it’s all   paperless but more reliable. I truly appreciate this technology from the bottom of my
  heart.“

  Donate to the Binance Lunch for Children program on this page To see which schools we are reaching through
                                                                                                    .


  the program, go to our website here Read part two of this story here
                                                         .                                                  .




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 Binance Blog

  Binance Labs Fellow: Ironbelly, an Open-Source
  Grin/MimbleWimble Mobile Wallet                                                                                                                                                                      1

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  Written by Flora Sun, Director at Binance Labs

  Today, Binance Labs           is   excited to announce our              first   grantee for the Binance Labs Fellowship                          .




  Our first Fellow is Ironbelly a mobile Grin wallet that
                                            ,                                      is    open-source, free to use, and focused on making                               it   easy
  and delightful to use Grin on your phone.                                                                                                                                                          How To Use Binance Earn To Earn
                                                                                                                                                                                                     Compound Interest and Maximize Your
  Here    is     some background for those who aren’t familiar with the Grin project.                                                                                                                Crypto Gains

  Grin       community-driven implementation of MimbleWimble which itself is a privacy coin concept described
          is a                                                                                    ,


  first in a whitepaper published anonymously in July 2016 by someone using the name of Tom Elvis Jedusor, a
  Harry Potter character. MimbleWimble details the concept of a privacy coin using the Confidential Transactions
  construction by Greg Maxwell. The Grin developer community is made up of hardcore developers who are
  contributing out of pure passion as they don’t benefit from a pre-mine. They move fast and shipped a mainnet
  faster than most commercial projects out there, mostly working part-time.

  Ironbelly is a project by Grin contributor, Ivan Sorokin as the first multi-platform mobile wallet for Grin. As
                                                                                    ,                                                                                                                Metaverse Tokens: What, Why and How
  stated earlier, Ironbelly focuses on overcoming some of the UX challenges of doing Grin transactions. Ivan                                                                                         To Buy Them
  ( i1skn ) is a very strong developer with an attitude of shipping quality software quickly for community feedback.

  He is also very familiar with the Grin codebase as he contributed to it.

  Ironbelly is crowdfunding their project on Gitcoin and you can support the project along with us here To learn                                                   .


  more about the Ironbelly author i1skn and project, here’s a Q&A that I did with Ivan recently:

  Flora: Can you talk about the genesis of Ironbelly? What made you interested                                      in    Grin and why did you want to
  build a wallet for it?

  i1skn : I’ve had my eye on Grin since the beginning of 2018. Its unique features and cypherpunk community
  attracted me and I started to learn Rust as well as learn how Grin itself actually works. Soon I noticed the one
  thing where Grin does not shine — it is hard to use for non-advance computer users. There was no mobile wallet
  and even the official desktop wallet has a command line interface only. That’s how the idea to create a mobile
  wallet for Grin was born.

  Flora: Why do you call             it   Ironbelly?

  i1skn : The name comes from a species of dragon — Ukrainian Ironbelly. One of them guarded some of the
  oldest and deepest vaults in Gringotts. Also, I’m Ukrainian myself.

  Flora: Can you explain what Ironbelly                    is   to people who are not familiar with Grin?

  i1skn : It’s a mobile wallet for Grin. Everybody who simply has a phone can use it. No additional servers
  needed. You can hold, send and receive Grins as you would currently do on a desktop.

  Flora: How        is   Ironbelly different from other Grin wallets out there?

  i1skn : It’s unique in a way, that it is the only mobile wallet, which uses official Rust Grin code on mobile. So,                                                         it

  runs the exact same code from official CLI wallet.

  Flora: For our readers who are familiar with Grin, can you talk about how Grin wallet                                           is   different from Bitcoin
  wallets?

  i1skn : So, first — you can not store Bitcoin in it. Second, by nature, Grin transactions are interactive and Grin
  does not have addresses. So, to make a transaction you need some sort of interaction with a recipient and one
  cannot simply send it to an address.

  Flora: Can you talk about the technical architecture of Ironbelly?

  i1skn : It uses the Rust code from official CLI wallet. So, there is no need to reimplement the blockchain logic.
  Rust code can be compiled on iOS as well as on Android. The UI is written in React-Native. This makes the
  project even more platform-agnostic. The goal is to have as little Swift/Java platform specific code as possible.

  Flora: What were some design trade-offs you’ve made for Ironbelly?

  i1skn : Rust and React-Native are not first-class citizens on iOS and Android. Because of that, there are some
  UI/UX trade-offs needs to be done. But at the current stage, it’s hard to name a few.

  Flora: What are some features that took                       a lot   of longer than you planned and why?

  i1skn : Going to mainnet took more than I thought because I want to ensure that users would not lose their
  assets because of some critical bugs. All the rest so far went as planned.

  Flora: What are some features that you made available initially and why?

  i1skn : Well, I released the app with very little functionality and with a lot of UI/UX trade-offs. So, in the
  beginning, you would only transfer Grins using files and would not even have the ability to see your paper key
  after you have created a wallet. The goal was to give a way for people to “play” with Grin as soon as possible
  and initially only basic functionality was implemented: hold, send and receive floonet (Grin test network) Grins.

  Flora: What are some features that you plan to work on and why?

  i1skn : Here are some things that I plan to work on:

           Improve key recovery process by making                        it   interactive and interruptible

           Improve authentication experience (add change password, TouchID/FaceID)

           Integrations with exchanges, pools and payment processors

           Android support

  Flora: What kind of help would you need from the developer community?

  i1skn : Any bugfix or improvements are more than welcome! Also, I do not have                                          a lot    of experience with
  Android, so any help there would be appreciated.

  Flora: What kind of help would you need from the non-developer community?

  i1skn : I’m an engineer, so any UI/UX help                     is   really appreciated! Also, documentation and texts                                in       the app need
  some love.

  Flora: What do you hope to get out of the Binance Fellowship?

  i1skn : Ability to spend significantly more time on the project and attract some amazing contributors!

  Flora: What do you plan to work on during the Fellowship?

  i1skn : Here are my plans during the Binance Fellowship:

           Open Ironbelly for mainnet

           Improve key recovery process by making                        it   interactive and interruptible

           Improve authentication experience (add change password, TouchID/FaceID)

           Integrations with exchanges, pools and payment processors

           Ongoing UI/UX improvements

           Android support

  That’s it, folks! To check out Ironbelly on iOS, you can download the beta version from TestFlight Ironbelly                                              .               is
  crowdfunding their project on Gitcoin and you can support the project along with us here                                                  .




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 Binance Blog

  Binance Security Incident Update #2
  2019-05-10                                                                                                                                                            Like this post



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                                                                                                                                                                        Layer 1 Blockchain Tokens: Everything
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  Dear Binancians,

  I would like to share some updates on the security incident We understand the situation is tough for our
                                                                          .


  community. We strive to maintain the highest degree of transparency; however, please also understand
  hackers are reading every word we post and watching every AMA we host. Sharing too many security details
  actually weakens our security response strategy.

  Rest assured, our team is making progress. We are taking this opportunity to significantly revamp some of our                                                         Metaverse Tokens: What, Why and How
  security measures, procedures, and practices. With the goal of resuming deposits and withdrawals as soon as                                                           To Buy Them
  possible, some of the changes will be done within the window of this week, and many further changes will be
  added afterwards.

  We are making significant changes to the API, 2FA, and withdrawal validation areas, which was an area
  exploited by hackers during this incident. We are improving our risk management, user behavior analysis, and
  KYC procedures. We are working on more innovative ways to fight phishing. We also have a number of
  additional security measures being implemented not directly visible on the front end.

  We will be adding hardware device support, such as YubiKey and other devices, very soon. We will run an event                                                         Web 3.0 Coin: The Newest Crypto
  and give away 1,000 YubiKeys as soon as that feature is implemented.                                                                                                  Trend in 2022

  Impact-wise, the single BTC transaction of about 7000 BTC is the only transaction in which funds were stolen,
  and it’s quite simple to verify this on the blockchain. There are many community experts watching every
  Binance wallet. We are still investigating all other areas of the system to ensure no stone is left unturned.
  Furthermore, we are working with a dozen or so industry-leading security expert teams to help improve our
  security as well as track down the hackers.

  Many security and blockchain analytics firms are actively helping us track the stolen funds. We are also
  working closely with many exchanges and other service providers to freeze the stolen funds. It already                                is   sort
  of an alliance. We have some ideas to contribute more on this front after we get over this incident.

  Mentally, the Binance team is not sad or depressed; on the contrary, we are in fighting mode. This event has
  further united an already tight team. We have received tremendous support from our community and we are
  humbled by your support. We will continue to fight for all of us, the community, against hackers and people
  with ill intentions. I believe this incident, while damaging us now, will actually make us far stronger and more
  secure in the long run.

  We will maintain constant communication with our community. I (CZ) am active on Twitter In fact, some                 .


  people even say I tweet too much. But my role is a facilitator and communicator. Honestly, I am not writing
  code or debugging servers. Given how much I talk, I sometimes say the wrong stuff, dirty words like “reorg”,
  for which I apologize. It is my strong view that our constant and transparent communication is what sets us
  apart from the “old way of doing things”, even and especially in tough times.

  Tentatively, we are looking to resume withdrawals and deposits early next week. We                           still   have   a   large number
  of tasks and tests to do, and we are working around the clock on it.

  Once again, we thank you for your unwavering support during these tough times! We will fight on.

  -   CZ




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 Binance Blog

  Trust Wallet Supports Cosmos (ATOM)
  2019-05-09                                                                                                                                                      1




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  Trust Wallet the official crypto wallet of Binance has added support for Cosmos (ATOM) This update is part of
                     ,                                          ,                                                         .

                                                                                                                                                                the CeFi and DeFi Ecosystem Together
  Trust Wallet’s mission to make cryptocurrency as easy-to-use and accessible as possible, starting with support
  the top 20 cryptocurrencies in the world.

  The Cosmos Network is a decentralized network of independent, scalable, and interoperable blockchains.
  ATOM is the native staking token used by so-called “Hubs,” the genesis being called “The Cosmos Hub,” the
  first public proof-of-stake (PoS) blockchain based on a Byzantine fault tolerant (BFT) consensus mechanism
  (Tendermint Core).

  For more information about adding Cosmos to your wallet, head to Trust Wallet’s blog                            .


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 Binance Blog

  Binance Research Looks Into Potential Stablecoin Initiatives
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  Binance Research the market research and analysis arm of global cryptocurrency exchange, Binance has
                           ,                                                                                                       ,


  released a comprehensive report on the development of stablecoins, including the highly anticipated moves by
  Facebook and Samsung into blockchain. The report, titled “ The Evolution of Stablecoins ” also examines the
  increased adoption and trading pair usage of USD-backed stablecoins, as well as the recent developments
  about Tether and subsequent expectations.
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  “Stablecoin initiatives from various non-financial companies, i.e. Facebook and Samsung, may further the                                                     Here’s a 5-Step Plan to Get Started!
  growth of the digital asset industry by introducing cryptocurrencies and blockchain technology to their large
  existing user bases.” Binance Research said.

  Binance Research thinks that companies like Facebook and Samsung are less risk-averse than traditional
  financial companies in terms of disrupting the payments industry. These companies also tend to execute at                            a
  faster pace. As a result, these companies may help define future key growth drivers for both the global
  payment and the digital asset industry.

  The new report from Binance Research was published following an in-depth discussion on stablecoins during
                                                                                                                                                               Binance Blockchain Week 2022: Official
  the inaugural episode of Binance Podcast During that episode, Binance CFO Wei Zhou talked about the impact
                                                         .

                                                                                                                                                               Announcement
  of stablecoins on finance with Leslie Tam, the Head of Binance OTC Trading, who had extensive experience in
  sales and trading at Merrill Lynch and Goldman Sachs.

  Binance Research’s latest report also analyzed the latest developments on the stablecoin market front. The
  first four months of 2019 led to net inflows for most of the stablecoins, with January 2019 seeing the largest
  inflows over the period. The subsequent three months had more redemptions than deposits, although, on a
  per-stablecoin basis, there were inflows to stablecoins such as Paxos and USD Coin. The volatility surrounding
  Tether, which is linked to recent news, may have contributed to the inflows.

  This report also calls attention to the potential effects of the expansion of collateralized stablecoins linked to
  currencies other than the US dollar. The developments may include:

          Additional channels for global remittance

          Easier to hedge against       fiat   currency risk

          Greater price efficiency for non-USD cryptocurrency exchanges

          The development of blockchain FX exchanges, either on or off-chain

  Furthermore, other innovation strategies by existing stablecoin issuers are discussed such as the increasing
  support of additional blockchains such as Ontology (for Paxos) or Tron (for Tether).

  Read the     full   report here.

  About Binance Research

  Binance Research provides professional, data-driven insights and analysis for investors in the crypto space to
  increase the level of transparency and improve the quality of information within the current crypto ecosystem.
  The team consists of professionals with a background and experiences in blockchain engineering, investment
  banking, strategy consulting, academic research and data science. For more information, visit:
  https://research.binance.com/




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  Binance Security Incident Update #3
  2019-05-12                                                                                                                                                 Like this post



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  Dear Binancians,

  Iwould like to share our 3rd update on the security incident For previous updates, please see this past update
                                                                             .


  and our AMA        .




  Our team is making progress and has been working through the weekend. In the past few days, we have made                                                   Crypto Futures Trading For Beginners:
  some significant overhauls to our system, with a large number of advanced security features added and/or                                                   Here’s a 5-Step Plan to Get Started!
  completely re-architected. We will share details on some of the changes later.

  We aim to fully resume deposits and withdrawals on Tuesday. The time will be communicated at a later stage,
  depending on how the testing goes. This upgrade will require a trading halt. We will update you again
  tomorrow.

  I   will keep this update short, and share        a   longer update after we fully resume         all   operations.

  -   CZ                                                                                                                                                     Web 3.0 Coin: The Newest Crypto
                                                                                                                                                             Trend in 2022




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 Binance Blog

  Philippines: An Internet-Savvy Hotbed for Crypto BUIDLing
  2019-05-12                                                                                                                                                        Like this post



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  One hot summer night, 80 people with varying interests in blockchain technology convened in a co-working
  startup’s small events space. Four of these people were having a lively debate on how much decentralization
  should take place, touching on topics such as cryptocurrency exchanges and data ownership, while two others
  diligently took notes on a whiteboard on what had been discussed. Glasses of an icy, milky, sweet concoction
  were distributed to attendees, some of whom came prepared with questions for the debaters, and most of
  whom had finished a full day of work on fintech- and crypto-related projects and endeavors.

  This kind of event happens every week in this city. No, we’re not talking about Silicon Valley, Shanghai, or                                                      Ukraine, Russia, Sanctions and Crypto
  Singapore -- the usual suspects. We’re in Metro Manila, the economic center of a vaguely familiar island-nation
  called the Philippines. This specific debate is organized by the Binance Filipino Community, with the help of
  some of the thought leaders in the blockchain industry.

  Philippines: A Story of Leaps and Barriers

  The Philippines, a nation of more than 7,000 islands and 100 million people, is blessed with abundant
  resources and beset with unfathomable challenges. The country is home to the third-biggest English-speaking
  population, which makes for a population that is competitive in the labor market worldwide, as well as an                                                         First DeFi Project on Binance: The
  embarrassment of natural riches, from world-famous beaches such as Boracay and El Nido to the islands’                                                            PancakeSwap Mini Program Bringing
  abundant flora and fauna.                                                                                                                                         the CeFi and DeFi Ecosystem Together

  Recently, the nation’s economy has been looking up, with the fastest GDP growth rates (6% to 7% yearly for
  seven years running) in Asia over the past few years, in addition to long-term projections of leapfrogging in the
  economy rankings from 34th-largest in 2017 to up to 12th-largest by 2060.

  But the many islands that give the Philippines its natural richness have also represented the harsh divides and
  tumults that the country experiences from time to time. The sheer number of islands in the country has made
  it logistically difficult to deliver various needs. The nation is also one of the most vulnerable in the world when

  it comes to natural disasters, -- the strongest typhoon ever recorded in history had ravaged the country in

  2013.

  Various hardships have forced some 10 million Filipinos to seek work in just about every other country in the
  world, and this overseas population brings in about $30 billion every year to their families back home. The
  country’s banking industry has remained competitive and innovative in various fronts, to cater to those who
  need to use financial services for remittances and money transfers. However, only 30% of Filipinos have access
  to banks, while credit card penetration is at an even lower 10%.

  Financial technology (fintech) solutions and remittance centers have risen up to take on this logistical
  challenge. It is estimated that there are about 23 million users* of various e-money apps in the country, and
  that number is expected to double in just two to three years. And more than 20% of the user base for e-money
  in the Philippines is served by crypto wallet apps. In other words, around 5 million people are already using
  blockchain and cryptocurrency services in the country.

  Online-Savvy Now, Blockchain-Savvy Soon

  The Philippines’ pivot to financial technology, especially blockchain technology, is in full swing, despite the fact
  that the country’s Internet speed is among the slowest in Asia. Two-thirds of the nation (more than 67 million)
  are connected to the Internet, three-fourths (73 million) use mobile phones, and virtually everyone has active
  SIM cards. And those who use the Internet stay on longer than the rest of the world; the average Filipino spend
  10 hours online, a full 30 minutes more than the next Internet-heavy country.

  Against all odds, cryptocurrencies are gradually taking center stage in Philippine financial technology. Virtual
  currency transactions doubled from $189 million in 2017 to $390 million in 2018, despite the bear market
  experienced last year. Factors that played into this increased transaction volume include better awareness of
  blockchain services, the use of cryptocurrency as a viable remittance and payment solution, and more.

  The combination of a favorable playing field and the growing interest in crypto among Filipinos has allowed
  many blockchain advocates in the Philippines, in various levels of society, to continue their projects for crypto
  adoption. For instance, one of the major banks in the Philippines has launched a Bitcoin ATM kiosk in Manila,
  while at least two banks are considering the creation and use of stablecoins powered by private blockchain
  networks.

  In the community level, there are weekly events from various startups and enthusiasts where discussions of
  crypto and blockchain technologies are encouraged. For instance, the Binance Filipino Community has
  organized three meetups in the Philippines, with a fourth coming along on May 17, 2019. Sign up here to join
  that meetup        ,




  At the end of the day,     it   would be prudent to continue building on this momentum for blockchain adoption                       in
  the Philippines.

  * Based on combined latest estimates of 10 million users for GCash, 8 million users for PayMaya, and 5 million
  users for Coins.ph. This figure does not include smaller services but is meant to be a conservative estimate. **
  Sources for various statistics in this report: the International Monetary Fund, HSBC, Bangko Sentral ng
  Pilipinas, CNN, and Coindesk.




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 Binance Blog

  Security Incident Recap
  2019-05-19                                                                                                                                                                        1


  In this article, I will share a recap of what occurred                     in   the past two weeks, including lessons learned, stress
  dealt with, and wisdom gained. - CZ                                                                                                                                             Share Posts




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  What Happened

  A group of hackers was able to gain control of a number of user accounts and made large withdrawal requests
  in such a way that they bypassed our pre-withdrawal risk management checks. Our post-withdrawal risk
  monitoring system caught it immediately, and suspended all subsequent withdrawals. While things are crystal
  clear in hindsight, at that moment, we weren’t 100% sure what exactly happened. Was it an actual user action?                                                                   Binance Launches Payments
   A glitch in the system? Or maybe a hack? As we were still evaluating the situation at the time, we decided to                                                                  Technology Company, Bifinity
  proceed with caution. I put out a tweet saying the withdrawal servers are in unscheduled maintenance mode,
  while the team continued to investigate what happened. After confirming it was a hack, more questions
  followed:

  -   How much did the hackers withdraw?

  -   Were there previous withdrawals that we didn’t notice?

  -   How many other accounts did the hackers have?                                                                                                                               Common NFT Scams & Safety Tips
                                                                                                                                                                                  2022
  -   What other risks are involved?

  -   How did the hackers know our risk management rules so precisely? Do we have                                              a   mole?

  -   What do we need to do to get the withdrawal system online again?

  While the team was investigating the above, there were further questions that needed to be answered: - How
  should we communicate?

  -   What would the community reaction be?

  -   How much reputational damage would we suffer?

  In tough moments like these, we always choose to follow our                                  first    principles: Protect Users and Be
  Transparent        .




  Communication

  After the initial incident, we decided to notify all our channels about the security incident. By then, we were
  relatively certain there was only a single affected transaction. All our other wallets were safe. We were
  cautious that the hackers might still have control of additional accounts that we were not yet aware of. Further
  withdrawals still posed a risk, and we needed to make a few significant changes to the system before we could
  re-enable withdrawals for our users. This security incident notification stated an estimation of one week of
  suspension on withdrawals.

  In the world of technology, you can never accurately estimate how long changes might take. It is quite different
  when you compare it to repeated, predictable work. Regardless, our users and community needed an estimate,
  and once communicated, it became a target deadline for our team to deliver. I did not know how the
  community would react to a one-week withdrawal suspension, but luckily, being transparent paid off and we
  received tremendous support from our amazing community.

  Lesson: During            a   crisis, constant and transparent communication                         is   key.

  Distractions

  Before the AMA, I had been up all night and I was really feeling the effects. So, I took a 15-minute nap just
  before the AMA. Upon waking up, my team told me there was an interesting proposal from a Bitcoin Core
  developer. I read it for a few seconds. It involved something called a “reorg”. While I know it’s technically
  possible for a rollback in a 51% attack scenario, it never occurred to me that it is also technically possible to
  change one transaction and keep all other transactions intact, while hugely incentivizing the miners. The
  discussion was already pretty hot on Twitter, so I mentioned it in the AMA as something that was suggested.
  Little did I know, it was a taboo topic. Lesson learned.

  AMA

  We had already previously scheduled a video AMA for just a couple hours later. I believed it would be
  appropriate to keep it, as lots of people would have questions. This turned out to be the right thing to do.

  Seeing me live had put a lot of our community at ease. The livestream was analyzed to death, including a body
  language analysis which I thought was a very good thing. It truly shows how the crowd will work as a hive
                                ,


  mind on different aspects of analysis. The body language analysis results were very positive, which was
  reassuring.

  Lesson: Get on a live video stream during crises. Your users deserve to know, not just what happened, but what
  you are doing to handle it, including allowing them to judge your mental state for themselves.

  Mental State

  I am not gonna deny it. My first reaction was: “F***!”, the second and third reactions were also the same. A few
  moments after that, I began to come to terms with it, “Well that sucks! What do we do now? Lots of people are
  waiting for me, some for instructions, some for information and some for reassurance. Lots to do, let’s just get
  on with it.”

  When I checked in with the team, they were already a couple of steps ahead of me, implementing additional
  security measures to further ring-fence our systems and discussing all available options. The entire team was
  online. I have seen this mode before, it’s called “War-Mode”. Luckily, our team is accustomed to high pressured
  situations, and our urge to fight was stronger than ever. A few of them even gave me a pat on the back for
  planning to do the livestream AMA. A few variations of “Balls of Steel, Boss” came up a few times. They were
  cheering me on, I knew that was a good sign.

  Funds

  After 10 seconds of the “F***, F***, F***” state, I did a quick mental calculation. 7000 BTC, fine, I know we have
  more than that in our own BTC funds alone. There is enough. A second calculation eased my mind, this was
  about the same as a quarterly burn we did about a year ago, not “such a big deal”.

  Also, this was not the largest outlay of cash percentage-wise we have had to endure. Back in Sept 2017, when
  the Chinese government issued a letter banning ICOs and “recommending” projects to return money to
  investors. The news alone caused many tokens to drop below their ICO prices, and many project teams
  couldn't return the whole amount to users. While $BNB stayed strong at about 6x the ICO price, Binance did
  help a number of projects raise money on our platform that were affected by this policy. So we did a quick
  calculation: if we were to help cover the losses for our users and for those projects, it would cost us roughly
  $6,000,000 USD. Putting that in perspective, while we only raised $15,000,000 two months prior, we spent a
  bunch of money and were barely cash flow neutral at the time. We decided to do it anyway. I was in a moving
  subway when the team called me, and we made that decision together in less than 5 minutes. That was more
  than 35% of all the cash we had at that time. The goodwill that that decision generated eventually brought us
  many users from China and all over the world, helping to fuel our growth. So, this time, this $40m represented
  a much smaller % of our cash reserves, plus we had the #SAFU fund that could fully cover it.


  Thus, we announced that we would cover the entire loss                              in full.


  Lesson: Money can always be earned later, do the right thing                                first.


  Help Offered

  We received tremendous community support, from people defending us, to people helping us by answering
  questions in the community, and platforms such as Twitter Telegram and Facebook The Binance Angels (our
                                                                                        ,                    ,                     .


  volunteers ) have been running at full steam on multiple communities, addressing questions and reassuring our
  users around the clock. Thank you, thank you; we thank you!

  Many partners jumped in to help. Analytics teams started to help us track the stolen funds, e.g. Peck Shield,
  Whale Alert, etc. Exchanges and wallet services offered to block any deposits associated with the hacker
  addresses. Several of them may be perceived as our “competitors” by some people, but I am impressed at
  how the entire community came together and stood united in a time of need.

  We also received numerous offers for help from law enforcement agencies around the world. This is a result of
  working with them closely in the past, usually helping them to solve cases. Now, they offered their help to us
  in return.


  Lesson: Being transparent makes                     it   easier for others to help you.

  Sales Guys

  I received 40+ new leads from various security experts/consultants/companies offering to help. Though some
  clearly intended to help, many were simply trying to sell their services. While all help is fully appreciated, the
  timing was actually a little off. It would not be good for me to schedule 40 calls during a week when our system
  is partially down. Some even flat-out suggested that we give them full access to our servers so that they can
  help us do forensics. Of course, we politely declined. Moving on...

  One Quarter            in a   Week

  Our team pushed on, day and night. In places where we congregate in small temp “offices”, we had temp beds
  from Ikea rolled out. I won’t go into the details here, as we don’t disclose our security practices, but to bring
  the system back online within one week, all of our teams did more than a quarter’s worth of work in that one
  week.

  A Blessing       in    Disguise

  Speaking with various team members, and as correctly analyzed by community members, such as Gautam
  Chhugani this incident may actually be a good thing for us in the long run. Security is a never-ending practice;
               ,


  there are always improvements to be made. We have implemented many of them in this last week and will
  continue to implement more in the future. Given this incident, Binance has actually become far more secure
  than before, not just in the affected areas, but as a whole.

  Lessons Learned

  We always aim to maintain constant and transparent communication with our community during a crisis. We
  believe this to be a strong contributing factor to the support we received from the community in return. One
  clear measure is the $BNB price: it dropped a bit on the initial news, but not nearly as much as one would have
  expected, and even before we resumed withdrawals, it has already made a strong comeback and hit all-time
  highs (in USD) again.

  We hope this will be a new benchmark for how project teams communicate with their users, during both the
  good times and the tough, and we hope this will help make our industry healthier and stronger.

  We Thank You!

  -   CZ




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 Binance Blog

  Binance Review, Month 22: We Thank You
  2019-05-17                                                                                                                                                                                                                                                                                                                                                           Like this post

  We dedicate our recap of Month 22 (April 15 to May 15, 2019) to our community for their support and being the
  reason why we overcame challenges and reaching new milestones.                                                                                                                                                                                                                                                                                                       Share Posts




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  The Big Story: Humbled by Our Community’s Support

  Community. That’s the central theme of Binance ’s activities for the 22nd month. This past month began with
  our 7th burn event for Binance Coin (BNB) during which Binance CEO Changpeng Zhao (CZ) revealed that                                        ,


  US$15.6 million worth of BNB, or 829,888 BNB, was burned.
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  This month, Binance DEX                                                             ,   the decentralized exchange running on its native blockchain, Binance Chain, officially
  launched. This is credited                                                              to the Binance community who have helped bring our shared vision of
  decentralization closer to                                                              reality. We also thank the entire blockchain community for supporting this endeavor
  early on, from the wallets                                                              and exchanges that supported Binance Chain to the first blockchain projects that
  migrated to DEX.




  In case you missed it, BNB is officially the native asset of Binance Chain. Follow Binance DEX on Twitter and
  join the Binance Chain community forum for the latest updates or to learn how to participate.

  The Binance community has also enthusiastically joined us in supporting the projects and advocacies that we
  believe will make a difference. Binance Launchpad the exclusive token launch platform of our exchange,                                                                                 ,


  completed the sale of Matic Network (MATIC) tokens Special thanks to the 13,170 Binancians who                                                                                                     .


  participated in the sale, and congratulations to the 9,443 lottery winners.




  For those who were unable to get MATIC tokens, we have a new project coming up on Launchpad: Harmony a                                                                                                                                                                                                                                                      ,


  fully scalable and secure blockchain with key innovations in state sharding (secure staking & resharding with
  decentralized randomness) and in peer-to-peer networking.

  We also like to thank some of the luminaries in the cryptocurrency world for supporting our advocacy of using
  blockchain for social good. To the blockchain influencers who agreed to be Binance Charity Foundation ’s (BCF)
  Binance for Children Ambassadors we can’t wait to see the development of our partnership for BCF’s             ,


  charitable causes. To the many people who continue to donate to BCF’s projects, your goodwill goes a long
  way towards helping make lives better.




  But most importantly, we are very grateful to our community for always standing by us throughout challenges
  that come our way. We thank you all for your patience, understanding and overwhelming support, from the
  moment we disclosed further details of the recent security incident to the day we resumed full operations. Our
  amazing community has motivated us even more to keep our heads down and focus on ‘BUIDLing’ more
  enriching services for every Binancian in the days to come. We thank you.

  You can learn more on what’s to come in the exciting future, from CZ’s recent live AMA session, where he
  revealed some insight on margin trading and more. Read the transcript of that AMA here                                                                                                                                                                                                               .




  In Month 22, we also added new listings, published research reports, held meetups globally, and more. Read
  below for the rest of the Binance Review, where we look back on more news and updates across the Binance
  ecosystem.

  Exchange Updates

  Listing Updates

  *Binance listed Cosmos (ATOM) and opened trading for ATOM/BNB, ATOM/BTC, and ATOM/USDT,
  ATOM/USDC, ATOM/PAX, and ATOM/TUSD trading pairs.

  *In addition, Binance listed Matic Network (MATIC) days after its token sale on Binance Launchpad and
  opened trading for MATIC/BNB, MATIC/BTC, and MATIC/USDT trading pairs.

  *Binance has also added the following trading pairs: MITH/USDT ENJ/USDT ETC/USDC, ETC/PAX, ETC/TUSD,                                                                                                                                     ,                              ,


  BAT/USDC, BAT/PAX, and BAT/TUSD                                                                                        .




  * Meanwhile, Binance confirmed support for the AE mainnet token swap as well as the Loopring (LRC) smart                                                                                                                                              ,


  contract upgrade                                .




  * As of May 15, Binance has 152 cryptocurrencies available for trading on Binance, with 472 total trading pairs,
  after the addition of two new tokens and 17 new trading pairs.

  New Features

  * Binance performed a system upgrade that resulted in the resumption of all activities, including deposits,
  trading, and withdrawals, just a week after the stoppage of deposits and withdrawals on the platform. After the
  upgrade concluded we provided VIP level ups and launched a 50,000 BNB giveaway.
                                                              ,




  * We have updated our Android Crypto Trading App and Windows PC client You may now opt to authorize your                                                                                                                                                            .


  login via scanning a QR code when switching from the Android App to the Windows PC Client.




  * The newly updated Binance Android app (version 1.5.8.0) now lets users buy Bitcoin Ethereum Ripple                                                                                                                                                                                             ,                            ,                ,


  Litecoin and Bitcoin Cash using their credit cards. Download the Binance Crypto trading app today!
                        ,




  Across the Binance Ecosystem

  We welcome Binance Singapore to the Binance ecosystem. This newly-launched fiat-to-crypto platform allows
  users to buy Bitcoin in Singapore using Singaporean Dollars. Follow Binance Singapore on Twitter for more
  updates on upcoming features of this new site.




  Binance DEX accomplished so much during its first month of mainnet operations. The community-led platform
  published a decentralized listing guide announced the winners of its coding competition, and rolled out                                 ,


  updates for the blockchain, Web wallet, and integration with Trust Wallet, as well as Korean language support.
  For more details, read their monthly roundup                                                                                                                .




  Speaking of Trust Wallet the official crypto wallet app of Binance has officially launched support for Binance
                                                                                  ,


  Chain In addition, here are some more updates from the crypto wallet app:
            .




  * Added crypto wallet support for more cryptocurrencies, such as Cosmos Dogecoin Theta Viacoin, Ontology,                                                                                                                                                      ,                             ,              ,


  Qtum, and Groestlcoin Notably, Cosmos will also support staking on the Trust Wallet app soon.
                                                                          .




  *A new feature called WalletConnect an open protocol for connecting desktop DApps to mobile wallets using                       ,


  end-to-end encryption




  Binance Academy the educational arm of Binance, continues to help keep the blockchain community informed
                                                          ,


  and educated. Academy released new content, such as:

  *  New lessons and videos on: Leased Proof of Stake Consensus Explained Symmetric vs. Asymmetric                                                                                                                                                           ,


  Encryption Blockchain Use Cases: The Internet of Things (IoT) [ New Video Here] MACD Indicator Explained
                              ,                                                                                                                                                                                                                                                        ,


  [ New Video Here] What is PGP What Are Forward and Futures Contracts [ New Video Here ], and Common
                                                      ,                                                  ,


  Scams on Mobile Devices                                                             .




  * New glossary entries: fill or kill order flappening flippening mainnet total supply Vladimir club bid-ask                         ,                                          ,                                        ,                         ,                                      ,                                        ,


  spread Commodity Futures Trading Commission (CFTC) Hashed TimeLock Contract (HTLC) mainnet swap
                    ,                                                                                                                                                                                        ,                                                                                                    ,                                       ,


  wei gas limit issuance liquidity maximum supply and sell wall
       ,                             ,                                        ,                              ,                                                                       ,                                                .




  In other educational endeavors, Binance Research released several new analysis reports:

  * The Evolution of Stablecoins How are fiat-backed stablecoins adapting their strategies to remain.


  competitive?

  * Return-Driven Cluster Analysis on Cryptoassets What does cluster analysis reveal about Bitcoin, Ripple and                                                               .


  other large digital assets?

  * Litecoin's (LTC) Halving Scenarios                                                                                   in           2019 What are the implications for Litecoin's (and Bitcoin's) future
                                                                                                                                                  .


  decrease in block rewards?

  *   Cryptocurrency-focused reports on Tron (TRX) Cosmos Network (ATOM) and Harmony (ONE)                                                                               ,                                                                                        ,                                                        .




  Binance Labs the investment arm of Binance, goes full steam ahead with its incubation program. Now on its
                                      ,


  second season, the Binance Labs Incubation Program has attracted its fair share of mentors, including Ire
  Aderinokun, co-founder of BuyCoins, and Elad Verbin of Berlin Innovation VC. Binance has also revealed more
  information about the first fellow under its Binance Labs Fellowship initiative: Ironbelly.




  Binance Info premiered the new Binance Podcast where our Binance leaders discuss timely topics within the                                                                      ,


  blockchain universe. Here are the two episodes launched so far:

  *   A stablecoin discussion between Binance CFO Wei Zhou and OTC Head Leslie Tam.

  *   An interview with Binance Charity Head Helen Hai on blockchain’s role                                                                                                                                                                                 in         shaping the future of charities.




  Binance Charity the philanthropic arm of Binance, had a very eventful month, opened up a new donation
                                              ,


  channel for rebuilding the Notre Dame Cathedral following the recent fire that damaged the edifice. Go to this
  channel to donate to this cause.




  Binance.JE the fiat-to-crypto platform serving European and UK markets, has opened up
                                 ,                                                                                                                                                                                                                                                                          its       API to the public.
  Click here to see all the resources you need for API.




  Partnerships

  Binance entered into a compliance and security partnership with blockchain analytics startup Elliptic. This new
  collaboration makes Elliptic the newest addition to Binance’s growing list of compliance partners, after
  Refinitiv, Chainalysis IdentityMind and CipherTrace             ,                                              ,                                                                               .




  Meanwhile, here’s a list of the numerous partnerships, migrations, and collaborations that Binance DEX and
  Binance Chain secured since mainnet launch.

  -Mithril Aeron BOLT MyWish Pledgecamp Ankr Blockmason BLOC Platform Atomic Wallet Red Pulse
                        ,                 ,                           ,                             ,                                                 ,                      ,                                                    ,                                            ,                                       ,                             ,


  CanYa and Gifto have migrated to Binance Chain.
                ,




  -Wallets such as Trust Wallet, Zelcore Enjin Magnum Wallet Coinomi CoolWallet, Infinito Wallet, and more                            ,                   ,                                                               ,                         ,


  have launched support for Binance Chain

  -   Mithril Spendcoin and ChangeNOW are listed on Binance DEX.
                        ,                                     ,




  Reaching Out to the Blockchain Community

  Online Activities

  Binance launched a post-system upgrade promotion, providing VIP level ups a 50,000 BNB giveaway. Here are
  the details: * All users with valid trading volume of 1 BTC or more (buy & sells) across any trading pairs on
  Binance during the promotion period will split a pool of 50,000 BNB. Promo runs from May 15 to May 18.

  * All    existing VIP users enjoy                                                             a        one VIP level up on their current VIP level from May 15 to May 22.




  To celebrate World Password Day, we launched the Binance Challenge, a contest where participants have to
  guess the password to a wallet that contained $250 in BNB. Participants were given clues on our social media
  accounts every 2 hours

  Binance concluded a couple of promos related to Matic Network. * A tester reward program open to Binance
  users, with a total $60,000 worth of MATIC token being given away.

  * A #MaticLottery promo on Twitter, where                                                                                                        10              randomly selected winners received $300 worth of MATIC
  tokens each.




  Meanwhile, Binance.je ran                                                               a    Europe Day contest and gave away                                                                                                       a        limited-edition Binance football shirt.




  Binance also completed the distribution of certain tokens for April. This includes NeoGas for NEO holders,
  Ontology Gas for Ontology holders, VTHO for VeChain holders, and Pundi X tokens. In addition, we concluded
  the monthly distribution of BTT for May.

  Global Activities

  Meanwhile, the April 17 meetup in Paris, France marks a pleasant end of Paris Blockchain Week a lively French                                                      ,


  community. CFO Wei Zhou and Binance Labs Director Teck Chia also participated in the meetup as special
  guests.




  The April 20 meetup in Wuhan, China was well-attended, where Binancians enjoyed networking and learned                      ,


  about the latest news from Binance.




  On April 24 we hosted the 2nd Binance Elite Investor Meetup The private event gathered industry leaders and
                                 ,                                                                                                                                                                                            .


  traders, discussing latest cryptocurrency market trends and tactics to build trading infrastructure. Please email
  vip@binance.com for future events                                                                                  .




  The April 26 meetup in Manila, Philippines featured a debate between thought leaders of the local crypto                                    ,


  scene on the pros and cons of the decentralization. View the highlight video of that meetup here                                                                                                                                                                                                                             .




  On May 10 Binance hosted a meetup in Guangzhou, China where we addressed several Binancians’ questions
                             ,                                                                                                                                                                                       ,


  about recent events and future plans within the Binance ecosystem.




  On May 15 Binance held     ,                                                        a    meetup                     in          Seoul, South Korea during which CFO Wei Zhou addressed questions               ,


  from the crowd.




  On May 15 Binance Labs held a meetup for the 35 companies in its portfolio, including some of the blockchain
                             ,


  world's BUIDLers. Special thanks to CertiK for hosting this meetup.




  Thought Leadership

  Binance CEO Changpeng “CZ” Zhao represented the blockchain industry during his keynote presentation at
  the Asian Leadership Conference in Seoul, South Korea.




  Wei Zhou was also at the Asian Leadership Conference, taking part in a panel discussion on the trend of
  traditional finance institution entering blockchain space (while wearing Binance socks).




  The Binance CFO was also one of the distinguished thought leaders during Paris Blockchain Week. “Binance                                                                                                                                                                                                                                                        is
  a successful case study of fundraising on the blockchain,” Wei said during the event organized by the French
  Ministry of Economics and Finance.




  Binance Labs Director Flora Sun spoke about crypto investment at the TNW Conference                                                                                                                                                                                                                  in    Amsterdam, The
  Netherlands.


  Binance OTC Head Leslie Tam gave a keynote speech at the 2019 Blockchain Investors Summit in Seoul, South
  Korea. "Binance's goal is to be the infrastructure services provider for the blockchain ecosystem. Binance
  Trading aims to achieve this by providing over the counter liquidity across the broader crypto space, including
  altcoins," he said.


  Binance Chief Growth Officer Ted Lin spoke at World Blockchain Summit in Taipei on crypto adoption and how
  it enables the freedom of money. He also presented about Binance Charity at the DLT101 blockchain

  conference in Taipei.




  Also during DLT101, Binance Charity Director                                                                                                                    Jill       Ni participated                                              in a   panel that discusses transparency on the
  blockchain.


  Binance Labs Head Ella Zhang discussed the potential of blockchain technology at Blockchain Life Asia                                                                                                                                                                                                                                          in
  Singapore.


  Binance Labs Director Christy Choi represented Binance’s investment arm at TalentLand 2019, the biggest
  crypto event in Mexico.


  Trust Wallet Founder Viktor Radchenko was the special guest of The Bad Crypto Podcast, where he was
  extensively interviewed on Trust Wallet, Binance, and massive crypto adoption.


  Meanwhile, read out latest thought informative topics on the Binance Blog:

  * 14 Tips to Enhance Security for Your Binance Account As Binancians, we must work together to keep our                                                                                                .


  ecosystem SAFU. To help facilitate this, we’ve compiled some important security habits to practice and keep                                                                                                                                                                                                                                                     in
  mind.

  * Philippines: An Internet-Savvy Hotbed for Crypto BUIDLing On this newest installment of the                                                                                                                          .


  #BinanceIsGlobal series, we talk about the Philippines, an archipelago nation that is quietly playing                                                                                                                                                                                                                                 a       huge
  role in the crypto revolution.

  * How Two Ugandans Help in Making Crypto a Part of Daily Life [Part 1] | [Part 2] “Securing food for an active                                                                                                                                                                   .


  life throughout the year — what Binance Lunch for Children is doing — is one of the most critical things in the
  fight against poverty.” - Dr. James Kimera Ssekiwanuka, founder of Jolly Mercy Learning Centre.


  Media Coverage

  * Forbes covers Binance Chain’s plans and future in this article: What's Binance Chain Trying To Accomplish
  And Why Is It Pulling Projects From Other Platforms?

  * Decrypt takes a look at how successful Binance Charity’s projects have been                                                                                                                                                                                                in      this article: How successful
  has Binance’s charity drive been?

  * Major French media outlet Le Figaro covered Binance’s participation at Paris Blockchain Week: Binance,                                                                                                                                                                                                                                               la
  fulgurante ascension du géant des cryptomonnaies                                                                                                                                           .




  Please follow us on Instagram Twitter and Facebook to stay up-to-date with our latest announcements. Join
                                                                                                     ,                                 ,


  our official Binance Telegram group to participate in discussions with our users, staff, and volunteers. Speaking
  of Facebook…


                            Please be informed that the official Facebook page of Binance                                                                                                                                                               is   now facebook.com/binance                                                       .
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 Binance Blog

  Binance Launchpad Announces ‘Harmony’ as Next Project
  2019-05-16                                                                                                                                                 1




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                                                                                                                                                           Bitcoin Button Game — Click The
                                                                                                                                                           Button To Win A Bitcoin

  Binance Launchpad --the exclusive token launch platform for transformative blockchain projects of global
  cryptocurrency exchange Binance --today announced support for its fifth project of the year, Harmony, a fully
  scalable and secure blockchain. Harmony’s testnet is operational and fully open source since January 2019
  with key innovations in state sharding and peer-to-peer networking. Harmony’s token sale will follow a lottery
  format and begin on Ma y 28, 2019 at 06:00 AM UTC.

  “Scaling is still one of the key problems of the blockchain industry, which we as an industry should aim to solve
  in the most effective way possible,” said Binance CEO and Founder, CZ (Changpeng Zhao). “The ambitious                                                   A Letter from Our CEO: Customer
  team behind the Harmony project proposes to solve this problem using sharding to parallelize transaction                                                 Service Upgrades and Our
  processing. I believe the team’s commitment to opening up blockchain technologies for billions of people will                                            Commitment to Our Users
  allow them to make a significant contribution to addressing the issue of scaling.”

  Harmony helps businesses tok enize their assets and incentivize user engagement. Harmony also creates an
  open economy for data sharing. Businesses take years to form data consortia such as ad exchanges and credit
  ratings. Harmony partners include Animoca (with game assets like Garfield), Contentos (a content platform
  with 60M monthly users) and Timeless (a calendar-based service marketplace) validate its value as a platform.

  “Harmony's mission is to scale trust for billions of people and create a radically fair economy," said Harmony
  CEO, Stephen Tse. "Binance will bring our fast and secure blockchain for data sharing to business while                                                  Crypto Futures Trading For Beginners:
  preserving the consumer’s privacy.”                                                                                                                      Here’s a 5-Step Plan to Get Started!

  As part of Binance’s active service and mission to help the industry create a more sustainable blockchain
  ecosystem, Binance Launchpad continues to support and introduce global infrastructure blockchain projects to
  the community, helping to scale up technologies and speed up mass adoption.

  Learn more about Harmony in Binance Research's in-depth report
  here: https://info.binance.com/en/research/ONE-2019-05-14.html

  To learn more about Binance Launchpad and pre-registration information for Harmony, visit
  https://binance.zendesk.com/hc/en-us/articles/360028476111

  Stay tuned for the latest updates via Harmony’s official Telegram: https://t.me/harmony_one and Twitter:
  https://twitter.com/harmonyprotocol

  About Harmony

  Harmony is a fast and secure blockchain with key innovations in state sharding (secure staking & resharding
  with decentralized randomness) and in peer-to-peer networking (optimal cross-shard routing, fast block
  propagation). We are a 12-person team with 7 engineers from Google, Apple and Amazon and 2 PhDs in Silicon
  Valley. For more information, visit: https://harmony.one/

  About Binance Launchpad

  Binance Launchpad is the exclusive token launch platform for entrepreneurs to bring the most transformative
  crypto projects to life, with the help of Binance users around the world. Projects accepted to launch on Binance
  Launchpad will have greater access to resources and support from across the Binance ecosystem.

  About Binance

  Binance is a blockchain ecosystem comprised of Binance Exchange, Labs, Launchpad, Info, Academy,
  Research, Trust Wallet and Charity. Binance Exchange is the leading global cryptocurrency exchange, with
  users from over 190 countries and regions. Capable of processing more than 1.4 million orders per second,
  Binance is the largest crypto exchange by trade volume and one of the fastest in the world. The platform
  focuses on security, robustness, and execution speed — attracting enthusiasts and professional traders alike.
  For more information, visit: https://www.binance.com




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  Careers                        Academy                           Desktop Application                  Support Center             Browse Crypto Prices
  Business Contacts              Charity                           Buy Crypto                           Submit   a   request       Buy BNB
  Community                      Card                              Institutional & VIP Services         APIs                       Buy BUSD
  Binance Blog                   Labs                              Referral                             Fees                       Buy Bitcoin
  Terms                          Launchpad                         Execution Solutions                  Trading Rules              Buy Ethereum
  Privacy                        Research                          Affiliate                            Binance Verify             Buy Litecoin
  Announcements                  Trust Wallet                      BNB                                  Law Enforcement Requests   Buy Ripple
  News                           NFT                               OTC Trading                                                     Buy Bitcoin Cash
  Notices                        Featured.market                   Listing Application                                             Buy Dogecoin
  Cookie Preferences             Binance Pay                       P2P Merchant Application                                        Buy DeFi
                                 Gift Card                         Historical Market Data                                          Buy SHIB
                                                                                                                                   Buy Tradable Altcoins



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 Binance Blog

  Binance Weekly Report: New Launchpad Project
  2019-05-20                                                                                                                           Like this post



                                                                                                                                       Share Posts
  Also in this weekly report (May 13 to 19, 2019): CZ and CFO Wei Zhou at Asian Leadership Forum,                              a
  comprehensive update from CZ about the recent security incident, and more Binance meetups.




                                                                                                                                       Related Posts




                                                                                                                                       Layer 1 Blockchain Tokens: Everything
                                                                                                                                       You Need to Know




  1. Binance Launchpad --the exclusive token launch platform for transformative blockchain projects of Binance -
  -today announced support for its fifth project of the year, Harmony, a fully scalable and secure blockchain with
  key innovations in state sharding and peer-to-peer networking. Harmony’s token sale will follow a lottery                            Crypto Spot vs. Crypto Futures Trading
  format and begin on May 28, 2019. Read here for more details                          .
                                                                                                                                       - What’s the difference?




                                                                                                                                       Bitcoin Button Game — Click The
                                                                                                                                       Button To Win A Bitcoin




  Binance Research also published            a   comprehensive report on Harmony. Read                 it   here   .




  2. Binance CEO Changpeng “CZ” Zhao represented the blockchain industry during his keynote presentation at
  the Asian Leadership Conference in Seoul, South Korea.




  CFO Wei Zhou was also at the Asian Leadership Conference, taking part in a panel discussion on the trend of
  traditional finance institution entering blockchain space (while wearing Binance socks).




  3.CZ recently shared a recap of what occurred in the past two weeks during the recent security incident. He
  pondered upon lessons learned, stress dealt with, and wisdom gained during the experience. Read his blog
  here .




  4. Binance wants to make sure that the community is working together to keep our ecosystem SAFU. To help
  facilitate this, we’ve compiled 14 important security habits for everyone to practice and keep in mind.




  5.In addition, Binance’s educational arm Binance Academy in collaboration with WhoTookMyCrypto.com,
                                                                                   ,


  published a new article outlining how we can protect ourselves from common scams on mobile devices                               .




  6. Binance Charity head Helen Hai was interviewed on Binance Info ’s Binance Podcast to discuss blockchain’s
  role in shaping the future of charities. Follow the podcast for more insightful conversations here                       .




  7.Trust Wallet the official crypto wallet app of Binance and Binance DEX, has released support for four new
                       ,


  blockchains: Viacoin Qtum Ontology and Groestlcoin Click here for more details.
                             ,       ,            ,                      .




  8. Binance Research has released a comprehensive report on the development of stablecoins, including the
  highly anticipated moves by Facebook and Samsung into blockchain. Read the team’s interesting insights in
  this report     .




  9.Binance held four meetups in the past week. The May 15 meetup in Seoul, South Korea featured CFO Wei               ,


  Zhou, who addressed various questions from the crowd about Binance.




  On May 15 Binance Labs held a meetup for the 35 companies in its portfolio, including some of the blockchain
                  ,


  world's BUIDLers. Special thanks to CertiK for hosting this meetup.




  The May 17 meeting in Manila, Philippines featured   ,            a lot        of sharing within the community about their best
  practices when it comes to trading in Binance.

  10. Binance’s 22nd month was filled with milestones and challenges, but the best part of the past month is the
  way the community united in support of our ecosystem. We thank you all for your continued patronage. Here’s
  the latest Binance Review.


  Binance DEX also had an eventful month since it launched its mainnet in late April. Stay updated with the
  latest developments on the community-led decentralized exchange here on this Binance Chain May 2019
  Update     .




  BONUS: Pic of the Week


                                         #DrinkBNB. Courtesy       of:    1983 Coffee Shop and He            Yi


  That’s a wrap for last week! Please follow us on Twitter Instagram and Facebook to stay up-to-date with our
                                                                             ,               ,


  latest announcements. Join our official Binance Telegram group to participate in discussions with our users,
  staff, and volunteers.
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 Binance Blog

  History Will Remember the Value We Created: Why
  Crypto.com Donated 28,888 BNB to Binance Charity                                                                                                         Like this post
  2019-05-20


  This is the story of what moved Crypto.com Co-Founder Bobby Bao to help improve thousands of children’s
                                                                                                                                                           Share Posts
  lives, after an in-flight movie and a speech from CZ.




                                                                                                                                                           Related Posts




                                                                                                                                                           Web 3.0 Coin: The Newest Crypto
                                                                                                                                                           Trend in 2022




  The blockchain industry has experienced several ups and downs, from its meteoric rise in 2017, to the violent
  storms in 2018, and then to the calmness in 2019. In this fast-changing environment, we have witnessed some
  people make great fortunes overnight and countless others fail spectacularly. Opportunistic speculators,
  technology developers, and evangelists appeared one after another and competed against each other. When                                                  Metaverse Tokens: What, Why and How
  the tide receded, everyone finally began to calm down and rethink the true essence and underlying value of                                               To Buy Them
  blockchain and crypto. What does blockchain represent? Does it represent the flow of value or the expansion
  of faith?

  Bobby Bao, Co-Founder and Head of Corporate Development of Crypto.com, has tried to answer this question.

  Bobby has transitioned from investment banking to the blockchain industry, becoming part of Crypto.com’s
  senior management before he turned 30. Bobby, who has extensive experience in the investment banking
  industry, witnessed the whole history of the ups and downs of the crypto industry. When blockchain hype
  reached its peak, Bobby reflected on its heyday. On a flight from Hong Kong to Seoul, Bobby watched the                                                  Binance Labs Makes Strategic
  movie “Million Dollar Man.” He found himself asking, “Where does wealth come from? Where will it go? At the                                              Investment in STEPN
  end of the day, what else is left aside from figures on a bank account? A hundred years later, what difference
  could we make for society?”

  Bobby attended a blockchain event in Seoul, where Binance CEO CZ (Changpeng Zhao) delivered a speech
  themed “ Centralization and Decentralization .” At the end of the speech, CZ showed a slide that made an
  impact on the Crypto.com executive.


  At this moment, Bobby started to realize that Binance Coin (BNB) is more than a cryptocurrency. The value of 1
  BNB goes beyond the ups and downs on a chart. A single BNB can change a child's life for better and give hope
  to the poor across the globe. After all, blockchain and cryptocurrencies are created to make the world a better
  place.

  After discussing with Kris Marszalek, co-founder and CEO of Crypto.com, who had also attended the
  presentation, Bobby picked up his phone and contacted Helen Hai, the head of Binance Charity. He expressed
  that Crypto.com is eager to donate $500,000 worth of BNB (around 28,888 BNB at that time) to the Binance
  Lunch for Children program on behalf of Crypto.com. The amount, which was immediately transferred to the
  wallet for Binance Lunch for Children can cover eight years’ worth of lunch for 1,000 children in Uganda.
                                                ,




  "History will remember the value we created.” That was                all   that Bobby said about his donation.

  Progress happens when courageous, skillful leaders seize the opportunity to change things for the better.
  These leaders have the power to improve lives, create value, usher in a better world, and change history with
  just one action. We are grateful for leaders like Bobby, who move to provide a bigger purpose for the
  blockchain revolution.




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  Careers                        Academy                           Desktop Application                  Support Center             Browse Crypto Prices
  Business Contacts              Charity                           Buy Crypto                           Submit   a   request       Buy BNB
  Community                      Card                              Institutional & VIP Services         APIs                       Buy BUSD
  Binance Blog                   Labs                              Referral                             Fees                       Buy Bitcoin
  Terms                          Launchpad                         Execution Solutions                  Trading Rules              Buy Ethereum
  Privacy                        Research                          Affiliate                            Binance Verify             Buy Litecoin
  Announcements                  Trust Wallet                      BNB                                  Law Enforcement Requests   Buy Ripple
  News                           NFT                               OTC Trading                                                     Buy Bitcoin Cash
  Notices                        Featured.market                   Listing Application                                             Buy Dogecoin
  Cookie Preferences             Binance Pay                       P2P Merchant Application                                        Buy DeFi
                                 Gift Card                         Historical Market Data                                          Buy SHIB
                                                                                                                                   Buy Tradable Altcoins



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 Binance Blog

  OTC Basics by Binance Trading
  2019-05-19                                                                                                                                                                  5


  At Binance, we strive to provide liquid markets on not just Bitcoin, but also the entire crypto space, including
  the altcoin markets which are a crucial part of the blockchain ecosystem.                                                                                                 Share Posts




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                                                                                                                                                                            Join the Binance Affiliate Program




  There is a common misconception that OTC trading is just a fiat gateway into crypto. For those who know how
  to use the OTC market effectively, there’s actually a lot more value to be gained from it than simply using it to
  trade fiat into BTC and vice versa. In this post, we hope to clarify why OTC trading is useful to the market and
  how Binance Trading can help make it easier for you to trade crypto, especially alt-coins.                                                                                How To Use Binance Earn To Earn
                                                                                                                                                                            Compound Interest and Maximize Your
  (Incidentally, if you’re looking for a quick and cheap way to on/off ramp between fiat/crypto it can now be done                                                          Crypto Gains
  quite easily at or close to zero cost via stablecoins - for more info we encourage you to take a look at our
  previous article on stablecoins at https://www.binance.com/en/blog/294416239327625216/Stablecoins-An-
  Efficient-Fiat-Gateway-Into-Crypto )

  What      is   OTC trading?

  When you trade cryptocurrencies, there are two main ways to do                            it -   either via exchanges or over the counter
  (OTC).
                                                                                                                                                                            Ukraine, Russia, Sanctions and Crypto
  Exchanges (like Binance) act as a marketplace that brings in liquidity from traders from around the world. On
  an exchange, you’re able to see an aggregated order book (a list) of bids (where people want to buy) and offers
  (where people want to sell). You can see exactly how much you can buy or sell at each price, and each trade is
  clearly published for everyone to see. The exchange takes care of wallet management, security, KYC/AML and
  provides a safe and user-friendly platform for users to trade on.

  In general, trading on exchanges is great as it is simple and transparent. The problem with trading on
  exchanges is that sometimes this transparency makes it difficult to trade huge amounts in one go without
  significantly moving markets.




  For example, if you wanted to buy 50,000 MATIC (around 485 USDT), you can do that immediately on the
  exchange and pay 0.0097 USDT per MATIC. But if you wanted to buy 1,000,000 MATIC (around 9,700 USDT),
  there’s only 78,794.8 MATIC available at 0.0097, which means you’d have to pay a higher price for the rest of
  the coins. To get to 1,000,000 MATIC your last MATIC would cost you 0.00985, or a full 1.5% above the current
  market price. And that’s just for 10,000 USDT. If you wanted to buy 100,000 USDT or more, it just wouldn’t make
  sense to buy it on the exchange in one go.

  Alternatively, you could put your large order in as a limit order. But this could take a very long time to fill, and
  just the act of placing in a large limit order to buy could raise prices as it’s a signal to other traders that
  someone wants to buy a large amount. This could result in the market “running away” from you and forcing
  you to update your limits regularly, which means you still end up buying higher than the original market price
  (after a lot of additional effort!).

  This    is   where the OTC market comes               in.


  Unlike trading on an exchange, OTC trades are conducted directly between two counterparties. It’s the easiest
  way to trade a large block of coins in one go. Each trade is a bilateral agreement between a buyer and a seller -
  no one else sees the discussion, which allows you to discuss trading large sizes without fear of affecting the
  markets. The trade can be as simple or as customized as you like.

  Why OTC?

  OTC trading gives you access to a deeper liquidity pool than what is immediately available on the exchange
  order book. Simply put, it lets you trade in large block sizes (typically 20 BTC and above) at a reasonable price
  without moving the markets against you. An OTC desk would give you a single fixed price you can buy/sell your
  coins at. Note that it will almost always be worse than the current price in the market since it factors in two
  costs:

  1.   Market impact cost of trading your coins and other traders reacting to your trades.

  2. Time cost of trading - the market can move against you while you are taking time trading ‘prudently’ without
  affecting the market too much.

  This is particularly useful for when you want to buy that 20 BTC worth of an altcoin but you’d much rather get
  on with your life and not sit there for 10 hours constantly watching/clicking on Binance. Crucially it provides an
  additional source of liquidity for altcoins on top of what you generally see on the exchange.

  Why trade with Binance Trading?

  At Binance Trading, we try to combine the best of what Binance has to offer and                                 general OTC trading. Binance
  as an exchange offers access to one of the deepest liquidity pools in the market,                                and as part of that ecosystem
  we are in touch with traders who can provide extremely competitive pricing and                                  liquidity in not only BTC but
  also in altcoins - and not just the likes of XRP, BNB, and ADA, but also less liquid                            coins such as MANA, AION,
  and ENJ.

  There are           a   number of advantages to trading with us:

  1. Simple Process - The trading discussion happens on chat, and a trade can be confirmed in as quickly as 1-2
  minutes from the time you reach out to us for a price. Once we agree on a price, we fully take care of the
  settlement process by moving the coins you’re selling out of your Binance account and the coins you’re buying
  in. You just need to make sure the coins are in your own Binance account - you don’t need to send coins
  anywhere or worry about phishing attempts or triple checking wallet addresses.

  2. Fast Settlement - Quite often OTC desks will choose to settle trades in 24-48 hours, which means you won’t
  have access to your purchased coins until much later. And even when they’re ready to settle, you’d still need to
  wait for block times. This isn’t so bad if block confirmations are quick like on Binance Chain with 1-second
  block times, but BTC blocks can take over 10 minutes, and if your counterparty requires a few confirms then
  you could be waiting for another hour or more. With Binance Trading, settlement occurs in your Binance
  account and for the major coins it is typically done within minutes.

  3.Reduces Counterparty Risk - With traditional OTC, trust is always an issue. There’s always a question of who
  sends first, and usually, the one who’s asking the price will be expected to send first, which means there’s a
  non-zero chance that the OTC desk will run away with your money. With Binance Trading, your coins stay in
  your account until we are ready to settle, and they are exchanged at the same time.

  4.Reduces Market Impact and Increased Anonymity - While OTC trades are not actively published and don’t
  show up on exchanges when you trade with a regular OTC desk, you do need to send coins to them on the
  blockchain which is generally visible to everyone who is paying attention. So others would be able to see that
  you’re selling (and exactly when it happens) which may have a negative impact on the market. With Binance
  OTC, if the coins are already in your Binance wallet, settlement occurs inside the Binance ecosystem which
  means it will not go through blockchains or block explorers.

  How can         I   get set up to trade with Binance Trading?

  ifyou’re reading this blog, chances are you’re already set up to trade with us. You need to have                                   a   verified
  Binance account and access to a chat program such as Telegram or Whatsapp.

  You can join our Telegram channel at https://t.me/BinanceOTC for a list of authorized traders you can speak
  with. Please reach out to one of us and we can confirm your account and get you set up to trade.




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 Binance Blog

  Join Our #HarmonyLottery Promo
  2019-05-27                                                                                                                                                                         Like this post



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                                                                                                                                                                                     Layer 1 Blockchain Tokens: Everything
                                                                                                                                                                                     You Need to Know

  Do you want to increase your chances of being part of the Harmony token sale on Binance Launchpad ? With
  our #HarmonyLottery Twitter campaign, we’re picking 10 people to win $300 worth of ONE tokens each
  without even winning the lottery! Here’s how:

  Activity period: 2019/5/27 6:00 AM (UTC) - 2019/5/28 6:00 AM (UTC)

  How to take part:
                                                                                                                                                                                     Binance Labs Incubation Program: It’s
  1.   Follow @Binance and @HarmonyProtocol on Twitter                                                                                                                               a Wrap For Season 3, Applications Now
                                                                                                                                                                                     Open for Season 4!
  2.   Tweet at least one of your 8-digit lottery ticket numbers for the Harmony token sale on Binance Launchpad.

  3.   Include hashtag: #HarmonyLottery.

  e.g. “Wish me luck        in   the @HarmonyProtocol token sale on @Binance Launchpad! 12345678, 87654321.
  #HarmonyLottery”


                                                                                                                                                                                     Bitcoin Button Game — Click The
                                                                                                                                                                                     Button To Win A Bitcoin




  For more details about getting your ticket numbers and other procedures for the token sale, click here                                                 .




  Qualifying for rewards:

  1.10 winners will be selected at random from                       a   pool of participants that did NOT end up with                        1    or more
  winning ticket(s).

  2.   Maximum of     1   prize per eligible Binance account.

  3.   Winners must be following both @Binance and @HarmonyProtocol on Twitter.

  4.   Winners must be have included the hashtag “#HarmonyLottery”                                   in   their tweet.

  5. Winners must be able to provide the email address registered to the respective Binance account of the
  lottery ticket number posted.

  6.   Allocation per prize      is   the equivalent of $300 USD (94,488.18 ONE tokens)

  7. Rewards will be distributed within 14 working days after the campaign. You can log                                         in   and check your prize
  via the “distribution history” section in the user center.

  8.   Only users that have completed the following requirements on Binance Launchpad are eligible to participate
  in   the “#HarmonyLottery” promotion:

  -    Identity verification complete

  -    Jurisdiction eligibility verified

  -    Token Purchase Agreement signed

  Reminder : Users need to complete their account verification and also be from an accepted jurisdiction to
  participate in this token sale.

  Disclaimer:

  * Users from the following countries will not be able to participate in token sales on the Binance Launchpad
  platform: Albania, Belarus, Bosnia & Herzegovina, Burma, Central African Republic, Democratic Republic of
  Congo, Democratic People’s Republic of Korea, Cote D’Ivoire, Cuba, Iran, Iraq, Kosovo, Lebanon, Liberia, Libya,
  Macedonia, Moldova, Serbia, Somalia, Sudan, South Sudan, Syria, Venezuela, Yemen, Zimbabwe, Afghanistan,
  Burundi, Canada, Cambodia, Ethiopia, Guinea-Bissau, Guinea, Kyrgyzstan, Laos, Malawi, Malaysia, Mali,
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 Binance Blog

  Binance Labs Fellow: Kitsune Wallet, Upgradeable On-Chain
  Wallet                                                                                                                                                                                     Like this post
  2019-05-24


  We would like to introduce the next Binance Fellow, Hadrien Croubois and his project Kitsune Wallet Kitsune
                                                                                                           ,                                             .
                                                                                                                                                                                             Share Posts
  Wallet (formerly known as UUIP - Universally Upgradeable Identity Proxy) was also the winner at our 2019
  ETHParis bounty.



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     Hadrien is a French computer scientist who received his PhD at the École Normale Supérieure de Lyon. He
       specializes in parallel processing, distributed systems, and workflow distribution. He is also a research
                                                                                                                                                                                             Crypto Futures Trading For Beginners:
      engineer at iExec, where he focuses on the evolution of the interactions between on-chain and off-chain
                                                                                                                                                                                             Here’s a 5-Step Plan to Get Started!
  entities. The development of Kitsune Wallet is his take on the improvement of user experience through identity
                                         smart contracts and meta-transactions.


  While very enthusiastic about the recent development of identity smart contracts and meta-transactions, he
  realized that all existing projects were lacking features that, while still not standardized, will be essential to the
  seamless integration of on-chain identities with complex hybrid infrastructures such as the iExec stack. This
  worry about the long-term sustainability and versatility of on-chain identity led him to develop a UUIP
  (Universally Upgradeable Identity Proxy). With Kitsune Wallet, the evolution of this initial proof of concept, he
  hopes to resolve the issue of on-chain identity upgradeability by proposing a wallet proxy that you will keep for                                                                          Ukraine, Russia, Sanctions and Crypto
  the rest of your life and transmit to your next of kin.

  To learn more about him and Kitsune Wallet, here’s                             a   Q&A we had with him earlier:

  Flora: Can you talk about the genesis of Kitsune? What problem are you trying to solve?

  Hadrien: Like most people involved in the development of blockchain projects, I realized UX is a major issue
  right now. This led me to follow the existing effort on identity smart contracts and meta-transactions. I realized
  that there is a lot of effort duplication, which is leading to incompatible solutions. It is also clear that no
  solution is future-proof. Rather than coming up with a new competing solution, I decided to experiment with
  my knowledge of contract upgradeability to build a solution that is simple enough to be adopted straight away,
  but with the ability to upgrade to any existing or future standard.

  Flora: Why do you call              it   Kitsune?

  Hadrien: To me, an upgradeable identity smart contract is like a mythical creature that would watch over your
  assets while being able to change shape so it would always be friendly. I am a fan of Asian (and more
  particularly Japanese) culture, so the reference to the mystical shape-shifting fox was obvious.

  Flora: Please describe what Kitsune Wallet                         is.


  Hadrien: Similarly to the nine-tailed mythical shape-shifting fox, Kitsune Wallet is a smart contract based
  account that will hold your crypto assets in a single contract (address) while being able to change appearance
  depending on your needs. This change of appearance includes modifying the security logic of one’s account,
  adding interfaces (such as ERC1271) but also taking the appearance of common multisigs such as
  UniversalLogin’s ERC1077.

  Flora: What          is   missing   in   current multisigs?

  Hadrien: A lot of things are missing in the different multisigs currently deployed. I personally believe that
  support for ERC1271 signature verification is one of these. However, I also believe the most important feature
  that is missing is upgradeability. It is unlikely that we will identify all the missing features in the near future,
  but if we can include upgradeability, we will be able to add the missing features when the need arises. Flora:
  How is Kitsune Wallet different from an ERC725 proxy?

  Hadrien: An ERC725 proxy can keep tokens and assets while its ownership changes. This means users can
  upgrade their security policy by deploying a new multisig account and transfer the ownership of their proxy to
  this new multisig. This approach is simple but comes with some drawbacks. First, the proxy acts as a barrier,
  and querying the multisig for additional information (for example for ERC1271 signature verifications) cannot
  be done transparently while the proxy is in the way. Also, as the multisig doesn’t hold any assets (they are on
  the proxy) it cannot easily refund the relayer of meta-transactions.

  Flora: Can you explain how Kitsune                     is   significant?

  Hadrien: Kitsune Wallet can be significant in many ways. First, it is designed to help wallet developers use
  proxies more easily. This will improve memory usage on the blockchain. In addition, Kistune makes these
  proxy upgradeable, so if the wallet logic as an error, or is missing a feature, you can upgrade in a single
  transaction that preserves your address (along with all the claims attached to it). Last but not least, being able
  to upgrade your proxy also means you are able to completely change the interface, so a user is not locked with
  the project that deployed the proxy in the first place.

  My hope is that a Kitsune Wallet proxy can be your sole on-chain identity that you will keep for the rest of your
  life and transmit to your next of kin.


  Flora: Can you talk about the technical architecture of Kitsune?

  Hadrien: Technical architecture can quickly be very complex, particularly when talking about upgradeable
  smart contracts. The thing is, Ethereum smart contracts have their code (the logic they are going to execute)
  and their memory (the data they hold). Contracts also have the ability to call another contract or to perform a
  delegate call. Calls are simple as they move the context to another contract, asking it to perform some
  operation using its own code and memory. Delegate calls are different in the sense that they are executing the
  targeted contract’s code but using the memory of the caller. This is how libraries work. Using the same pattern
  Kitsune wallet deployed proxy that contains a minimum of code and uses delegate calls to a master for all the
  complex wallet logic. This means a single master can serve millions of users, each one of them only needs a
  lightweight proxy. By simply changing the master a proxy is using, you completely reshape the proxy
  capabilities. This is how most upgradeable contracts work. The added value of Kitsune is the way masters are
  structured, and the way they deal with memory. Kitsune wallet prevents the proxy from linking to dangerous
  masters and requires the masters to include specific methods for memory cleanup and replay protection
  through upgrades.

  Flora: What were some design trade-offs you’ve made for Kitsune?

  Hadrien: Memory management is a big issue with upgradeable smart-contracts. Memory space is either shared
  across all upgrades and as to be kept intact or is master specific and has to be cleaned before an upgrade.
  Deciding the extent of the resilient part (the one common to all master and kept between upgrades) is a trade-
  off between what is currently part of all wallets, and what we think will be required in the future. Some wallets
  designers might want different fields to appear in this section. My stance is that generic mappings are the way
  to go and that consensus on how to use these mappings will be discussed long after the first wallets are
  deployed.

  Flora: What are some features that took                        a lot     of longer than you planned and why?

  Hadrien: The core design of Kitsune-wallet is pretty simple to anyone that has my level of expertise in smart-
  contract development. It’s details like variable names that are difficult to get right straight away. Explaining the
  benefit of Kitsune Wallet to developers and having them adopt this model is always the most difficult step, but
  things are moving in the right direction.

  Flora: What are some features that you made available initially and why?

  Hadrien: The core of Kitsune Wallet is the proxy-master interaction. The first step was to build the proxy, build
  a few masters, and show how the upgrade process solves a real problem. It was not that difficult to find a
  missing feature in an existing multisig wallet, and showing that Kitsune can reduce the deployment cost of the
  wallet while giving them the ability to update their logic helped me convince people to consider this approach.

  Flora: What are some features that you plan to work on and why?

  Hadrien: I have many ideas of features to include in multisig wallets. My initial objective was not to propose a
  competing wallet implementation, but with upgradeable proxies becoming a thing I’ll be able to work on that
  in a way that will be reusable by others. Thanks to Kitsune’s upgradeability, we have all the time we need to
  work on these features and propose new, improved, wallets that include them.

  Flora: You have made Kitsune open sourced. How would you see the community can expand on                                                        it?


  Hadrien: Kitsune will soon be presented as an ERC. I might have missed some issues and                                                I   think this    is a
  necessary step when the Ethereum community will be able to improve this design.

  Wallet developers will also be able to expand the Kitsune project by building compatible master and using the
  Kitsune proxy.

  Flora: What kind of help would you need from the developer community?

  Hadrien: I hope Kitsune can be a catalyst to have developers consider upgradeable proxies. Now that there is                                                         a
  working example it’s easy for them to experiment with is, improve it, and build on top of it. As said previously,
  contributions to the ERC discussion will be more than welcome. Also, code review is always a good thing.

  Flora: What kind of help would you need from the non-developer community?

  Hadrien: At some point, I’ll need a better logo. More seriously, I think UX design is moving a lot lately. I hope
  more non-developer will try the new solutions and give their opinion about what works for them, what doesn’t
  and how they want to build their own wallet’s security. User requests and feedback is essential for us
  developers to make the onboarding process in the new web 3.0 as simple as it is in the old web 2.0.

  Flora: What do you plan to work on during the Fellowship?

  Hadrien: I already have work-in-progress with a few crypto projects that are moving toward upgradeable
  identity proxies. Building a complete, production-ready, onboarding user experience is my first objective. This
  will help me understand what tools are required to improve this integration process, and so the development
  of the necessary tools will be my second priority. I’ll also be working on bringing more projects into Kitsune
  Wallet, but I think this kind of adoption will really grow when Kitsune wallet and its partners will present
  working solutions in Q3 to Q4 of 2019.

  Ifyou like to check out Kitsune Wallet and contribute to the codebase, you can visit the project’s Github page.
  Kitsune Wallet is crowdfunding their project on Gitcoin and you can support the project along with us here
                                                                                      ,                                                                          .




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 Binance Blog

  Binance Labs Fellow: HOPR, an Incentivized Privacy
  Messaging Protocol                                                                                                                                                                                                    Like this post
  2019-05-21


  Today, we would like to introduce the next Binance Fellow, Dr. Sebastian Bürgel from HOPR                                                                           .
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  Written by Flora Sun, Director at Binance Labs

  HOPR is an incentivized, decentralized mixnet scheme. Using Chaumian 'onion' encryption, HOPR protects
  both the encrypted message as well as the metadata associated with the message, such as sender/receiver
  info, the size of the message, the IP address being used, etc. In addition, HOPR believes that mass adoption                                                                                                          Join the Binance Affiliate Program
  and scale of a decentralized solution and privacy-preserving infrastructure need economic incentives.
  Therefore, the relayers in HOPR are compensated with a built-in incentivized mechanism.

  Sebastian received his PhD from ETH Zürich. To learn more about him and HOPR, here’s                                                                          a   Q&A that I did with
  them earlier:

                                                                                                     ***

  Flora: Can you             tell       us what   is   the genesis of HOPR?                                                                                                                                             Crypto Futures Trading For Beginners:
                                                                                                                                                                                                                        Here’s a 5-Step Plan to Get Started!
  Sebastian : We increasingly saw how much of the full decentralized tech stack was missing to build truly
  decentralized applications. We saw various blockchains for financial applications but the most interesting
  applications are not financial.

  Think about it - which apps are you using more frequently: messengers or mobile banking applications? Upon
  reviewing the landscape we saw that various projects seemed to be using Ethereum’s Whisper protocol for
  various things it was not designed for. Beyond application-level use cases such as messaging, we also see the
  need for privacy at the protocol implementation level. For instance, sending a blockchain-based transaction,
  management of staking nodes in PoS systems, or payment channel management should happen in a privacy-
  preserving fashion at the base layer. This is how we realized that there is a big missing puzzle piece in a
  decentralized and privacy-preserving messaging protocol in the Ethereum space and more generally for
  decentralized applications towards a web3.0.

  Flora: Please describe what HOPR                                is.


  Sebastian : HOPR relays messages from sender to recipient via intermediate hops that thereby provide privacy.
  Since running a relay node comes with non-zero costs (hardware, energy, traffic and sometimes also costs for
  legal services), we introduce incentivization for users to become a relay node and participate in the network.
  The message, funds, and responsibility to deliver a message ‘hops’ from one hop to the next downstream
  node. In technical terms, HOPR is a decentralized mixnet scheme with incentives for relay node operators.

  Flora: Why do you call                   it   HOPR?

  Sebastian : HOPR is leveraging an onion-routing-based scheme, inspired by Chaumian mixnets such as The
  Onion Router (TOR). In HOPR, we are relaying a message from sender to recipient, via relay nodes which
  thereby provide privacy in addition to the more commonly seen end-to-end encryption. These relay nodes are
  also called “hops” - a typical message might get relayed via three hops before it reaches its recipient,
  therefore the name HOPR is describing what the protocol does at a lower level.

  Flora: How           is   HOPR different from other privacy messaging protocols?

  Sebastian : The major difference between other privacy-preserving messaging protocols is that HOPR
  introduces an incentivization mechanism for relay node operators without destroying the privacy of the
  message layer. In addition to that it provides:

  1.   Token   /       Ledger based accounting scheme between network participants

  2.Stronger anonymity guarantees than TOR through the SPHINX packet format
  https://cypherpunks.ca/~iang/pubs/Sphinx_Oakland09.pdf

  3.Full decentralization                   --   without central points of trust,                          in   contrast to TOR that relies on centralized
  gatekeepers.

  Flora: Please describe the technical architecture of HOPR?

  Sebastian : HOPR comprises                           a   message layer (sending the message around) and                                     a        payment layer (incentivizing
  relayers):

  1.   Message layer:

  a.   The message gets decrypted, bypassing nodes along the path.

  b.   Nodes alter the header such that                            it   gets readable for the next node.

  c.   The next node checks the integrity of header, extracts information and forward                                                             it    to the next node/hop.

  2.   Payment layer:

  a.   Nodes use (customized) payment channels for accounting between each other.

  b. The protocol execution between Alice and Bob                                             is   completely independent of the one between Bob and
  Charlie.

  c.   To earn money, nodes need to prove that they’ve forwarded the packet.

  d.Next downstream node accepts packet only if it contains a certain amount of money and                                                                                 a   correct header
  response packet structure, otherwise, it’ll drop the message.

  e.Nodes follow the “optimistic fair exchange” principle: participants are able to detect misbehavior and make
  on-chain claims in case such behavior happens.

  3.   Peer discovery:

  a.Decentralized directory service -- nodes use a gossip-like peer discovery protocol inspired by BRAHMS
  http://webee.technion.ac.il/~idish/ftp/brahms_tr.pdf

  b.   Nodes use WebRTC with decentralized signaling servers to bypass NATs                                                        /   firewalls

  Flora: What were some design trade-offs you’ve made for HOPR?

  Sebastian : Generally, we try to BUIDL on the shoulders of giants by using technologies that reduce our time to
  release, are common in the blockchain ecosystem, and increase usefulness for a variety of other projects. The
  tech stack for our first implementation that was demoed for the first time at EthCC in Paris we build on top of
  JavaScript / NodeJS and libp2p which are used by a wealth of projects in the blockchain space.

  Sebastian : On            a   deeper architecture level, we have:

  1.   Protocol stack:

  a.   Network -> establish bitstream between nodes

  b. Libp2p -> establish overlay network,                                 i.e.    determine which protocols the nodes speak/understand, route
  traffic

  c. HOPR -> mixnet, connection to                            a    blockchain that processes the accounting, discovery of possible routes ->
  also known as relay PKI

  d.   Synchronization layer: provide chat history, deliver keys, store messages

  e.   Application layer: e.g. status.im                      /    matrix.org           /   ratchet scheme …

  2. Fixed packet size for better privacy guarantees by ensuring that packages cannot be traced by                                                                               a   strong
  global passive adversary

  3.Depending on the privacy requirements of the application, latency might be low at below one second. For
  other applications, longer latencies might be acceptable in order to provide even better privacy.

  Flora: What are some features that took                                   a lot      of longer than you planned and why?

  Sebastian : During our design phase we noticed a lot of love and attention on libp2p in the community and
  chose to build on top of that. However, during the implementation, we discovered an increasing number of
  Incompatibilities or missing features in libp2p towards which we actively contributed in order to move HOPR
  ahead. Such discoveries that you make while you code and assume your tech stack is perfect, lead to delays                                                                                    in
  the overall timeline but are somewhat inevitable in such a young and rapidly progressing ecosystem.

  Flora: What are some features that you made available initially and why?

  Sebastian : We decided to have a first PoC as soon as possible to find out what is relevant to the community. In
  the end, HOPR is not useful in and by itself but only if it’s leveraged by as many projects as possible. Therefore
  we decided on the following MVP requirements:

  1.   Mixnet functionality

  2.   Beta version of              a   relay PKI

  3.   Payment layer without on-chain dispute resolution

  4.   CLI chat client

  Flora: What kind of help would you need from the developer community?

  Sebastian : HOPR is open source today. We would be happy about contributors that write code, review code,
  test, help us work on the documentation and also tell us where we could be doing a better job. In the end,
  HOPR is being built for the developer community so early feedback is key for us.

  Flora: What kind of help would you need from the non-developer community?

  Sebastian : As HOPR is meant to be the missing part between the p2p layer and the synchronization layer, we
  are looking for decentralized applications/projects that want to give their users additional privacy and use
  HOPR. We are actively looking for projects that want to build decentralized applications and are interested in
  privacy even at the network level. Next, we would like to make a more detailed analysis of how HOPR could be
  integrated into such projects and what we need to develop to get there and integrate HOPR in the most pain-
  free fashion.

  Flora: What do you hope to get out of the Binance Fellowship?

  Sebastian : We primarily appreciate the opportunity to present HOPR to the world, specifically interested users,
  staking providers, projects that want to use HOPR and developers. Finally, this is made for the community and
  we are hoping for feedback and constructive criticism.

  Flora: What do you plan to work on during the Fellowship?

  Sebastian : During the 3-month Binance Labs Fellowship, we are working primarily on three milestones:

  1.   Private Key Infrastructure (PKI) that enhances the reliability of communication                                                            in    the HOPR network.

  2.Architecture for batch dispute resolution mechanism that allows for scalable dispute resolution                                                                                  (e.g., a
  connected node does not respond).

  3.Documentation and testing that makes                                         it   easier for external contributors to test HOPR for their own
  purposes         .




  Flora: Would you like to share any Interesting stories about HOPR and                                                     its   community so far?

  Sebastian : We were quite positively surprised that after presenting and demo-ing at EthCC we actually had the
  first external developers checking out HOPR and even contributing code. That probably shows the power of
  open source development in reality!

                                                                                                     ***

  That’s it, folks! If you would like to check out HOPR and contributing to the codebase, you can visit the project
  Github page. HOPR is crowdfunding their project on Gitcoin and you can support the project along with us here                                                                                      .




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 Binance Blog

  #UseBNB as of May 2019, Now With Binance Chain
  2019-05-29                                                                                                                                                         2


  Here’s the latest expansive universe of the use cases for Binance Coin (BNB). Thanks to Binance Chain, this
  universe just got a whole lot bigger.                                                                                                                            Share Posts




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                                                                                                                                                                   Crypto Spot vs. Crypto Futures Trading
                                                                                                                                                                   - What’s the difference?




  The last time Binance provided a list of use cases for Binance Coin (BNB) around late March we counted
                                                                                                   ,                            ,


  around 55 use cases for storing, using, and spending BNB. This time, we’re counting at least 83. This means
  that since we last wrote about #UseBNB on this blog, we’ve increased the number of use cases for BNB by
  more than 50%. You can see the list of all projects using BNB in the image below.
                                                                                                                                                                   Ukraine, Russia, Sanctions and Crypto




                                                                                                                                                                   Crypto Futures Definitions and
                                                                                                                                                                   Examples: 7 Trading Terms Every
                                                                                                                                                                   Trader Should Know!




  (By the way, if you think we missed             a   particular use case on this image above, feel free to @ us on Binance’s
  Twitter account .)

  In this blog, we will highlight some of the latest additions to the use cases for BNB.

  Binance Chain

  Most of the growth in BNB use cases can be attributed to one thing: Binance Chain. Since this community-built
  blockchain launched on mainnet in late April, many blockchain projects have been interested in trying out this
  high-performance blockchain for issuing and exchanging crypto tokens. Since then, we saw at least 24 projects
  publicly declaring that they are issuing tokens on Binance Chain.

  How does that increase the use cases for BNB? Simply put, as BNB is the native token of Binance Chain, all
  transactions involving tokens on the Binance Chain will use BNB to pay for fees on the network. As more
  projects use Binance Chain and more people use the tokens on the blockchain, more BNB ends up being used.

  Here are the blockchain projects that are using Binance Chain to issue their tokens.


    Mithril                                                   BOLT                                     Hut34



    Harmony                                                   MyWish                                   Raven Protocol



    Blockmason                                                CanYa                                    BetX



    Red Pulse                                                 BLOC                                     Givly



    Gifto                                                     Ankr                                     Chiliz



    Aeron                                                     TrustED                                  Spend



    CryptoBonusMiles                                          Pledgecamp                               ChangeNOW



    Fantom                                                    GTEX                                     HonestMining




  We thank these blockchain projects for using Binance Chain. And for those who want to find out what Binance
  Chain can do for your blockchain project, join the conversation here at https://community.binance.org/                               .




  New BNB Use Cases

  Since the last time we enumerated the use cases for BNB, we have been in constant communication with
  various projects that are interested in working with us. We want to leverage BNB’s current No. 7 rank to find
  more use cases for our native token, for the benefit of Binancians everywhere. Here are some projects and
  solutions where you can now use, store, or spend BNB:

  Entertainment: Machi     X,    PlayGame

  Payment: BayPay, Coinify, HTC Exodus

  Services: BitTorrent, PureVPN, Centerserv

  Wallet: Infinito Wallet, Zelcore, Exodus, Math Wallet, Magnum Wallet, Hoo Wallet, Ellipal Wallet, Guarda Wallet,
  Meet.one

  Exchange: Bitmax, Changelly, Indodax, Bitmoon, Aliniex, FinanceX

  This use case list is by no means exhaustive, as we are aware that there are other BNB use cases that we have
  yet to cover. If you think we missed a particular BNB use case, or if you’re interested in adding one, let us know
  at our Twitter account using the #useBNB hashtag.
                           ,




  For more information, check out           all   the ways you can use, buy, and store BNB her                  e.




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 Binance Blog

  Binance Launchpad: Harmony Sale Results
  2019-05-28                                                                                                                                                         Like this post



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  Binance Launchpad the exclusive token launch platform of Binance that helps transformative blockchain
                           ,


  startups raise funding to develop their products and drive user adoption, has completed the sale of Harmony
  (ONE) tokens This is the fifth token sale of Binance Launchpad this year and the second token sale under the
                     .


  new lottery rules.

  The token sale was conducted through a single session where participants purchased Harmony tokens using
  Binance Coin ( BNB ) In this session, all 1.58 billion ONE tokens were sold to Launchpad participants who drew
                          .


  and claimed winning lottery tickets.                                                                                                                               First DeFi Project on Binance: The
                                                                                                                                                                     PancakeSwap Mini Program Bringing
  The timeline below provides an overview of how the Harmony (ONE) token sale was conducted:                                                                         the CeFi and DeFi Ecosystem Together

  May 26, 2019 23:59:59 (UTC) : Binance Launchpad recorded final BNB balances                        in   user accounts.

  May 27, 2019 06:00 (UTC) : The ticket claim process opened for all eligible users for                     a    24-hour period. Users
  could also sign the Token Purchase Agreement during this time.

  May 28, 2019 06:00 (UTC) : The ticket claim process closed. 22,891 users participated                          in   the lottery claiming   a
  total number of 54,076 tickets. Binance Launchpad began the lottery draw.
                                                                                                                                                                     Common NFT Scams & Safety Tips
  May 28, 2019 08:00 (UTC) : Binance Launchpad announced that there are 16,666 winning tickets, held by 12,977                                                       2022
  total winners. That puts the percentage of winning tickets at 30.82%, among all 54,076 tickets claimed. Lottery
  winners will get 94,503.78 ONE tokens per winning ticket. The winners’ BNB balances will be deducted based
  on their number of winning tickets within 24 hours. If you won the lottery, please ensure that you have
  sufficient BNB in your account.

  Harmony is a fast and secure blockchain. Built by a team of engineers from Google, Apple, Amazon, Harvard
  and Stanford, Harmony helps businesses build marketplaces of fungible tokens (such as energy credits and
  loyalty points) and non-fungible assets (such as game collectibles and real estate). Harmony has a robust
  ecosystem building strategy focused on creating partnerships that drive adoption of the protocol. At scale,
  Harmony helps businesses tokenize their assets and incentivize user engagement.

  For more information about Harmony (ONE) tokens, read this comprehensive Harmony research paper
  provided by Binance Research on the project              .




  Disclaimer:

  *** Users from the following countries will not be able to participate in token sales on the Binance Launchpad
  platform: Albania, Belarus, Bosnia & Herzegovina, Burma, Central African Republic, Democratic Republic of
  Congo, Democratic People’s Republic of Korea, Cote D’Ivoire, Cuba, Iran, Iraq, Kosovo, Lebanon, Liberia, Libya,
  Macedonia, Moldova,Serbia, Somalia, Sudan, South Sudan, Syria, Venezuela, Yemen, Zimbabwe, Afghanistan,
  Burundi, Canada, Cambodia, Ethiopia, Guinea-Bissau, Guinea, Kyrgyzstan, Laos, Malawi, Malaysia, Mali,
  Mozambique, New Zealand, Sri Lanka, Tanzania, Thailand, Timor-Leste, Trinidad & Tobago, Tunisia,
  Turkmenistan, Uganda, United States of America (USA), Uzbekistan. This list of excluded countries may be
  subject to change and may vary from project to project. This post does not constitute investment advice nor
  should it be misconstrued as such. Certain information set forth in this post contains forward-looking
  statements and are not guarantees of future actions by Binance or any of its affiliates. All investments are
  subject to high market risk. Please be cautious when making your investments. While Binance Launchpad
  exerts utmost care in choosing and supporting transformative blockchain projects, we will not be responsible
  for any investment losses.




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 Binance Blog

  Binance Weekly Report: Binance Chain’s 1st Mainnet Month,
  #HarmonyLottery                                                                                                                                                     1

  2019-05-27

                                                                                                                                                                 Share Posts

  Also in this weekly report (May 20 to 27, 2019): Trade big volumes with Binance Trading’s OTC services, new
  quiz on Binance Academy, first meetup in Nigeria, and more!


                                                                                                                                                                 Related Posts




                                                                                                                                                                 7   NFT Games to Play-to-Earn   in   2022




  1. Binance DEX, the community-led decentralized exchange powered by Binance Chain, recently concluded the                                                      A Letter from Our CEO: Customer
  first month on mainnet, special thanks to the numerous blockchain projects that have supported it. Here are                                                    Service Upgrades and Our
  the latest integrations, migrations, and more:                                                                                                                 Commitment to Our Users

  * Binance Chain is powering the launch of the Socios mobile app, where avid fans of popular football team
  Juventus FC can use Fan Tokens by tokenization platform Chiliz to interact with the club’s players.

  * Fantom Foundation, a blockchain project for smart cities, will work with Binance Chain to create                                                a   multi-
  asset, cross-chain ecosystem.

  * Mobile wallets MEET.ONE and Guarda announce                                 full   support of Binance Coin and other tokens on Binance
  Chain.                                                                                                                                                         Binance Labs Incubation Program: It’s
                                                                                                                                                                 a Wrap For Season 3, Applications Now
                                                                                                                                                                 Open for Season 4!




  These are just some of the numerous achievements by the Binance DEX and Binance Chain community, which
  you can see in this monthly report                  .




  2. With the #HarmonyLottery promo you can be one of the 10 winners of $300 worth of Harmony (ONE)
                                                          ,


  tokens. Tweet your lottery ticket numbers for the Harmony token sale on Binance Launchpad to get a chance
  to win ONE tokens even if you did not win the lottery. Read the complete promo details here                                              .




  For more details about getting your ticket numbers and other procedures for the token sale, click here                                                  .




  3.Binance Trading the official over-the-platform trading service of Binance, released a new blog explaining the
                            ,


  merits of OTC trading, especially for large-volume traders. Join Binance Trading’s Telegram channel at
  https://t.me/BinanceOTC to see a list of authorized traders you can speak with for your OTC needs.




  4. Binance Labs the investment arm of Binance, gathered the BUIDLers from all three of its regional hubs
                        ,


  during the latest mentorship session for Season 2 of the Binance Labs Incubation Program The innovative                          .


  BUIDLers, who we’ll reveal soon, participated in sessions led by Binance Co-Founder and Chief Marketing
  Officer He Yi and Chief Growth Officer Ted Lin.




  In addition, Binance Labs introduced new fellows from its Binance Fellowship initiative: HOPR an incentivized                                 ,


  private messaging protocol by Dr. Sebastian Bürgel from Validity Labs and Kitsune Wallet an upgradeable on-
                                                                                                       ,                       ,


  chain wallet by Hadrien Croubois Stay tuned for more introductions of new fellows on this blog.
                                              .




  5.Binance’s educational arm Binance Academy launched two new features for a more engaging learning
  experience and enriched its content base further with new entries on its glossary:

  -The new Glossary Quiz from Binance Academy measures your proficiency in blockchain and cryptocurrency
  terms you need to know. Choose from Beginner, Immediate, or Advanced levels.

  - The new Audio Format for Binance Academy articles allows you to learn on the go, without needing to spend
  significant screentime to read articles on blockchain and crypto.




  -New additions to the glossary: ASIC-resistant dead cat bounce Decentralized Autonomous Organization
                                                                            ,                    ,


  (DAO) hard cap and paper wallet
              ,         ,                         .




  6.Binance Research has released a comprehensive report on Zilliqa, a high-thoroughput smart contract
  processing platform. Read the team’s interesting insights on the project in this report                               .




  Also, follow Binance Research on Twitter to get live access to the latest insights on the cryptocurrency
  markets, including this chart below outlining recent significant altcoin movements.




  7    .   Here, we sum up some media coverage and statements from our thought leaders                                 in   Binance:

  - Binance Co-Founder and CMO He Yi answered various questions in an interview with 499Block, a community
  focused on women in crypto. “As for vision, we hope that we can become the underlying system of the
  blockchain industry. In terms of values, we are always dedicated to one obligation, that is, protecting the
  users,” she said in the extensive interview                      .




  - Binance Charity Executive Director Athena Yu was a distinguished speaker at the Lagos Blockchain, AI &
  Digital Asset Conference, in Lagos, Nigeria. “Africa is not a follower any more in the fourth industrial revolution.
  Blockchain offers a golden opportunity for the bottom billion to live better lives through accessible finance,"
  she said.


  - Forbes recently published an article about the decentralized nature of Binance’s operations, describing a
  team distributed across the globe and working across different time zones. Asked about this setup, Binance
  Charity Head Helen Hai said, “Part of our team spent a lot of time in Africa. Working on the ground with our end
  beneficiaries helped us to understand the needs and challenges better.”

  8.Speaking of Binance Charity, the philanthropic arm of Binance recently shared the story of how Crypto.com,
  through co-founder Bobby Lee, was motivated to help improve thousands of children’s lives with a generous
  28,888 BNB donation, after an in-flight movie and a speech from CZ.


  9.Binance held two meetups this past week. The May 25 meetup in Chongqing, China, was                                                a       community
  gathering of Binance supporters, who bonded over blockchain and hotpots.


  The meetup in Lagos, Nigeria also held last May 25, was the first in the country. Binance Charity’s Athena Yu
                                        ,


  graced the event and shared how blockchain is the future of Africa.


  BONUS: Pics of the Week (this time, we feature three!)
                                                                Case 1:23-cv-01599-ABJ Document 16-1 Filed 06/06/23 Page 23 of 37




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 Binance Blog

  Learning By Ear:                        3   New Binance Academy Features
  2019-06-02                                                                                                                                                          Like this post



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                                                                                                                                                                      How to Set Up and Use Trust Wallet for
                                                                                                                                                                      Binance Smart Chain



  Since its official launch in December 2018 and major revamp in late March, Binance Academy has continuously
  worked to make everyone’s blockchain education experience better. This time, the educational arm of Binance
  has rolled out three new features that make blockchain learning accessible to more people than ever.

  Here are the three new features rolling out this week:
                                                                                                                                                                      Binance Labs Makes Strategic
  1.   Text-to-speech feature                                                                                                                                         Investment in STEPN




                                                                                                                                                                      Web 3.0 Coin: The Newest Crypto
                                                                                                                                                                      Trend in 2022




  At Binance Academy, we are aware that there are different learning styles for each person. We’ve
  accommodated verbal learners with our comprehensive text lessons and glossary. We’ve also catered to visual
  learners with a lineup of informative videos on many blockchain topics.

  This time, let’s hear it for the auditory learners, through Binance Academy’s new text-to-speech feature. This
  functionality allows you to learn blockchain lessons from Binance Academy without having to read them. This
  is particularly great for when you want to multitask or are preoccupied with something that demands your
  eyes’ attention. This is also beneficial to the visually impaired because we want blockchain knowledge to
  spread to as many people as possible.

  The text-to-speech feature       is    currently available     in   13 languages.

  2.   Glossary quiz




  Do you want to measure up how many blockchain words you were able to remember? Or                                       a   refresher exam on
  what you’ve learned on Binance Academy so far? Then this new glossary quiz is for you.

  Binance Academy is always exploring ways to make your learning experience more interactive. Following the
  success of our security quiz, we’re extending the fun to your blockchain vocabulary. Show off your crypto-word
  proficiency on this quiz.

  The glossary quiz    is   currently available     in   English, with more languages to follow soon.

  3.   Easier-to-use menu

  At Binance Academy, we don’t just introduce more feature, we also keep on refining the ones we have. The
  menu is one of the more frequently used parts of the website, and we are constantly improving it so that our
  users can navigate it better.

  Specifically, the search bar is now easier to use. We’ve also made the menu more responsive and easier to use,
  especially on mobile. This change may be subtle compared with the new features, but you’ll notice them when
  you have a more convenient time looking for a particular lesson or segment of the website.

  The Binance Academy team will come up with even more features in the future. Perhaps in the near future,
  we’ll be able to see an even more robust learning platform with custom-made quizzes, gamification, and more.
  Follow Binance Academy on Twitter and Telegram for the latest updates




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 Binance Blog

  Binance Research Releases First Crypto Report Compilation
  2019-05-31                                                                                                                                                                    Like this post

  Binance Research has been churning out quality reports that analyze the crypto industry. Now you can have
  these reports in one booklet, which also contains new market insights from the research team.                                                                                 Share Posts




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                                                                                                                                                                                Join the Binance Affiliate Program




  Binance Research the market analysis arm of global cryptocurrency exchange Binance has released the first
                          ,                                                                                               ,


  compilation of its comprehensive reports on the crypto industry. Titled “Latest Insights & Analytics,” this
  booklet covers all industry-level research reports done by Binance Research between March and May 2019,
  with the notable addition of the team’s insights for the crypto industry for the next few months.                                                                             Exploring Market-Neutral Strategies   in
                                                                                                                                                                                Crypto-Derivatives
  Read Binance Research’s “Latest Insights & Analytics” here.

  For this compilation, Binance Research began with a preface that encapsulates an overview of the notable
  developments regarding blockchain during the past three months. This preface also contains statements on
  the research team’s expectations on crypto for the next few months.

  “The cryptocurrency and digital asset industry will continue to evolve over 2019, with the pace of evolution
  potentially accelerating even further if market prices decide to hit the gas pedal,” according to Binance
  Research.                                                                                                                                                                     How To Use Binance Earn To Earn
                                                                                                                                                                                Compound Interest and Maximize Your
  Binance Trading, Binance’s OTC desk, also offered commentary on the crypto trading front, noting that May                                                                     Crypto Gains
  2019 was a much more active month in terms of OTC trading.

  During the past three months, we saw new vigor in the cryptocurrency industry. The total market capitalization
  of cryptocurrencies rose from $130 billion on March 1, 2019, to almost $260 billion as of May 31, 2019,
  representing 100% growth in just three months. Throughout this period, Binance Research covered a wide
  array of topics, from stablecoins, cryptocurrency correlations, crypto forks and halvings, crypto prediction
  markets, cryptoasset cycles, and more.

  Here are brief summaries of each report covered on the compilation:

  - Can JPM Coin Disrupt the Existing Stablecoin Market? Binance Research looks into                                   J.P.       Morgan’s stablecoin
  project and sees its potential to materially impact traditional financial services.

  - Are Cryptoassets Highly Correlated? Binance Research identified several patterns on correlations between
  different cryptocurrency bundles, as well as returns related to the U.S. dollar and Bitcoin.

  - Examining the Implications of Monero's Latest Fork. Binance Research thinks the Monero community faces a
  tradeoff between centralization and increasing risks associated with lower mining contribution as the privacy
  coin underwent a recent fork.

  - A Look at Irregularities Discovered on Augur. Binance Research points out vulnerabilities on decentralized
  prediction market platform Augur.

  -Investigating Cryptoasset Cycles Binance Research uncovers price co-movement patterns on cryptoassets
                                                .


  and projects that the cryptomarket had already bottomed out.

  - Litecoin’s 2019 Halving Scenarios Binance Research analyzes the implications for Litecoin’s future decrease
                                                    .


  in block rewards, as well as a similar scenario for Bitcoin next year.


  - Categorizing Cryptoassets: A Return-Driven Cluster Analysis. Binance Research groups cryptocurrencies into
  clusters based on their market movement correlations.

  -The Evolution of Stablecoins Binance Research assesses the potential impact that initiatives from Facebook
                                          .


  and Samsung will bring to the crypto industry.

  Several of these reports are complemented by educational content from Binance Academy. These segments
  provide an informative discussion on some of the crypto topics covered in the research reports, ensuring that
  readers of this latest compilation get a full understanding of the analysis being offered in the publication.

  In addition, this new compilation includes 8 of the best infographics from Binance Research’s Twitter account,
  which is increasingly becoming a must-cite channel for major cryptocurrency media outlets. These
  infographics give a visual representation of the type of in-depth analysis being conducted by Binance
  Research,

  Over the next several months, Binance Research aims to release more reports that cover many of the pressing
  issues regarding blockchain and cryptocurrencies.




  To read the    full   compilation, click here.

  About Binance Research

  Binance Research provides professional, data-driven insights and analysis for investors in the crypto space to
  increase the level of transparency and improve the quality of information within the current crypto ecosystem.
  The team consists of professionals with a background and experiences in blockchain engineering, investment
  banking, strategy consulting, academic research and data science. For more information, visit:
  https://research.binance.com/




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 Binance Blog

  Binance Charity Signs MOU with Uganda NGO Safe Future to
  Aid 100,000 Children                                                                                                                                          Like this post
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  KAMPALA - May 30, 2019 - Binance Charity Foundation (BCF), the blockchain-enabled charity platform and                                                        First DeFi Project on Binance: The
  official philanthropic arm of the global cryptocurrency exchange Binance today signed a Memorandum of
                                                                                                ,
                                                                                                                                                                PancakeSwap Mini Program Bringing
  Understanding (MOU) with Safe Future, a non-governmental organization (NGO) initiated by Uganda’s Minister                                                    the CeFi and DeFi Ecosystem Together
  for the Presidency, with the aim of complementing the Government of Uganda efforts towards the
  improvement of the quality of education in the country.

  The signing ceremony was witnessed by Hon. Ali Kirunda Kivenjinja, Deputy Prime Minister of the Republic of
  Uganda and Minister of East African Community Affairs, who appreciated BCF for its generous contribution
  towards the improvement of the quality of education in Uganda. He said that Binance Charity Foundation
  showcases transparency powered by blockchain and encourages Uganda to embrace the new technology. H.E.
  Edward Kiwanuka Ssekandi, the Vice President of Uganda, expressed his gratitude to Binance Charity
  Foundation for supporting the children in the country, and welcomed the BCF grant and committed the support
  of the Uganda national government towards the project named Binance for Children Special Impact Education                                                     Crypto Futures Definitions and
  Project Uganda. He urged all the project’s beneficiary schools to strive at producing good grades in the 2019                                                 Examples: 7 Trading Terms Every
  National Examinations.                                                                                                                                        Trader Should Know!




                                 Hon.    Ali   Kirunda Kivenjinja, Deputy Prime Minister of Uganda

  Hon. Gume       Fredrick Ngobi, Minister of State for Cooperatives, said that Binance for Children was timely and
  necessary.     He narrated that the project would contribute to the government’s efforts towards the achievement
  of the MDG      (Millenium Development Goal) 2 indicator on quality education, having achieved the national MDG
  2 indicator    on access to education after introducing universal education at both primary and secondary levels.

  BCF Executive Director Ms. Athena Yu and the Safe Future CEO Mr. Mula Anthony said that the Binance for
  Children project would provide a brighter future for 100,000 children Safe Future will be responsible for project
  implementation and will ensure the delivery of meals (breakfast and lunch), solar panels, sanitary pads,
  school supplies, LED screens, and other much-needed items to 160 schools in Uganda For instance, the            .


  project aims to install solar panels and grant school supplies for 50 schools, with more specific plans for the
  other schools to follow as BCF and Safe Future work further under the MOU.

  Furthermore, the signing ceremony marks the exponential growth of the Binance for Children initiative to save
  African children’s future by blockchain. The first pilot project, Binance Lunch for Children kicked off at Jolly        ,


  Mercy Learning Center at Kampala, Uganda, in February 2019, The pilot project, sponsored by Zcoin, fed 257
  students and brought 53 students back to school. The project then quickly rolled out to 10 schools in Kampala
  and Jinja, Uganda, providing lunch for students in these schools for a whole year, with donations from Tron,
  IOST, and Binance.

  As of the end of May 2019, Binance for Children had reached 3,990 children, and that number is constantly
  increasing, given the increase in children going back to school thanks to this simple act of providing food.

  Among the numerous dignitaries who attended the signing ceremony are the following:

  -   Hon. Deputy Prime Minister & Minister of East African Affairs                Ali   Kirunda Kevejinja

  -   Hon. Ngobi Gume Fredrick Minister of Trade

  -   Hon. Esther M. Mbayo, Minister for the Presidency

  -   Hon Isaac Musumba Minister of State Lands, Housing & Urban Development

  -   Dr. Ibembe Patrick, Senior Presidential Advisor

  -   Member of Parliament

  -   24 District Chairpersons and Chief Administration Officers

  -   District Education Officers from 24 districts

  -   Mr. Mula Anthony, CEO of Safe Future

  -   Ms. Athena Yu, Executive Director of BCF

  BCF is honored to work with the government of Uganda in using blockchain and cryptocurrency to provide
  better transparency and efficiency throughout the traditional charity processes. The organization is grateful for
  the government’s acceptance and enthusiasm for blockchain-powered philanthropy.




                                                  Athena Yu, Executive Director of BCF

  “The adoption of blockchain and crypto in charity is not as easy as many people might think,” said Athena Yu,
  Executive Director of BCF, during the signing ceremony, “We are inspired by the Ugandan government, which is
  willing to work closely with us to explore various possibilities in blockchain-enabled solutions for children's
  education and health. Together, we will enhance this new way of charitable giving with more transparency and
  sustainability.”

  About Binance Charity Foundation

  Binance Charity Foundation is a nonprofit organization, dedicated to achieving global sustainable development
  by unlocking the power of blockchain. BCF develops and tests viable solutions that address the root cause of
  social problems to guide people out of the poverty trap. The foundation is initiated by Binance, the world’s
  largest cryptocurrency exchange by trading volume, headed by Helen Hai, UNIDO Goodwill Ambassador, in
  collaboration with Marie-Louise Coleiro Preca, President of Malta, as the Chair of the Advisory Board.

  About Safe Future

  Safe Future is a non-profit organization in Uganda that aims to contribute to the improvement of the education
  standards in Uganda as one of its major objectives, Alongside education, Safe Future aims to promote and
  support modern agricultural practices as a means to addressing household poverty in Uganda, promote and
  support the improvement of health for women and children, work to complement government efforts towards
  improving access to clean and safe water across the country, and contribute to the full achievement on the
  Millenium Development Goal on the realization of environmental sustainability, among others. The
  organization, an initiative of the Minister for the Presidency Hon Esther M. Mbayo, was founded in 2017, with
  headquarters in Luuka District and with operations across Uganda.

  APPENDIX: Message from the Vice President of Uganda




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 Binance Blog

  Trust Wallet Supports Binance DEX
  2019-06-04                                                                                                                                                    1




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  Trust Wallet the official crypto wallet app of Binance, has launched support for trading on Binance DEX the
                     ,                                                                                                            ,


  community-led decentralized exchange built on Binance Chain.

  With this integration, experience the freedom to choose how you trade your digital assets on Binance DEX,
  while you retain complete ownership of funds on your Trust Wallet.                                                                                          Web 3.0 Coin: The Newest Crypto
                                                                                                                                                              Trend in 2022
  “One of the essential needs for a working crypto economy is to have the ability to swap or exchange your
  digital assets. This, and the ability to always stay in control of your own money. Binance Chain and Binance DEX
  fulfill both these needs," said Trust Wallet Founder Viktor Radchenko.




                                                                                                                                                              Crypto Futures Definitions and
                                                                                                                                                              Examples: 7 Trading Terms Every
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  To find out more about this new integration, read the              full   article on the Trust Wallet blog        .




                                                                                                                                                              Crypto Spot vs. Crypto Futures Trading
                                                                                                                                                              - What’s the difference?




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 Binance Blog

  10 Reasons Why Blockchain Projects Choose Binance Chain
  2019-06-04                                                                                                                                                         Like this post

  One month since its mainnet launch, Binance Chain has gained support from at least 35 blockchain projects,
  with more to come. We list down some of the reasons they provided for supporting this new community-led                                                            Share Posts
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  Since the launch of Binance Chain on mainnet in late April, various blockchain startups, projects, and
  companies have pledged support for this community-led blockchain. More than 35 companies have publicly
  supported Binance Chain, with several more to come.
                                                                                                                                                                     Binance Labs Makes Strategic
  These include 14 crypto wallets that have added support for Binance Chain-based cryptocurrencies (BEP2                                                             Investment in STEPN
  tokens), two exchanges (aside from Binance) that have supported the migration of Binance Coin (BNB) to
  Binance Chain, and 19 blockchain startups that are either migrating their existing tokens to Binance Chain or
  are proposing to list their newly-created tokens on the decentralized exchange Binance DEX.

  At Binance, we feel humbled by the amount of support gained by the community-led Binance Chain thus far.
  We were thankful for the many reasons that various crypto projects have given. Here, we take note of 10 of
  these reasons they mentioned for choosing Binance Chain.

  1.   We want to be          first
                                                                                                                                                                     Join the Binance Affiliate Program
  Mithril is a blockchain project that focuses on social mining that rewards content creators. Talking about its
  migration to Binance Chain, the Mithril team said that it wants its token holders to “be the first to experience
  the speed, security, and user-friendliness on the new Binance DEX platform while maintaining full control over
  their own funds.”

  2.   We trust Binance Chain (and Launchpad) for our token offering

  Harmony, which recently concluded its token sale on Binance Launchpad chose to use Binance Chain to create
                                                                                                      ,


  its tokens, the first such Launchpad project to do so. The project, a fast and secure blockchain with key
  innovations in state sharding and peer-to-peer networking, said that its collaboration with Binance Chain will
  help it reach more users throughout the entire world for its mission to scale trust to billions of people.

  3.   We want to make            a   fast stablecoin

  Stably is issuing StableUSD, a stablecoin fully-backed 1-to-1 with a US dollar reserve managed by a Nevada-
  chartered trust company, on Binance Chain. “This makes USDS.B one of the fastest major stablecoins on the
  market, with one-second block confirmation time and the ability to process several thousand transactions per
  second,” Stably said.

  4.   We considered technology alternatives

  Aviation blockchain project Aeron committed to migrating its ecosystem to Binance Chain, after considering
  alternatives to the technology it is using. “By migrating to Binance Chain, ARN token holders will experience
  the speed, security, transactional efficiency and other advantages of the new blockchain platform.”

  5.   We want to try out multiple blockchains

  Choosing Binance Chain does not have to be exclusive. For instance, Red Pulse, a market intelligence platform
  for data on China’s business environment, has migrated its Red Pulse Phoenix token to Binance Chain, but with
  a twist. The Red Pulse Phoenix PHB token on Binance Chain will coexist with a counterpart token on another
  blockchain; live tokens on one blockchain will have a frozen counterpart on the other blockchain.

  6.   We want to be part of Binance Chain’s expanding ecosystem

  Sometimes, the network of blockchain projects that gravitate towards Binance Chain gives another reason for
  other companies to follow. “We’re seeing an increasing trend of great projects moving towards Binance Chain,
  and we want to contribute to the Binance Chain ecosystem so that all these great projects may garner added
  value from our contributions,” said Fantom, a blockchain project that aims to be the IT infrastructure backbone
  for smart cities.

  7.   We want to test our solutions on this new blockchain.

  Blockmason is using Binance Chain to create BCPT, a utility token for data recording to programmatic
  blockchains through its Credit Protocol. “Launching BCPT on Binance Chain allows us to explore a new
  blockchain venue, assess the potential and suitability of cross-blockchain Credit Protocol transaction
  recording, as well as the scaling of transaction capacity,” Blockmason said about its move to Binance Chain.

  8.   We want       a    fairer payment system for content developers and users

  Gifto, a blockchain project for livestreaming and crypto gaming that held its token launch on Binance
  Launchpad in 2017, has continued supporting the Binance community, with its choice to migrate to Binance
  Chain. The startup sees Binance Chain as the backbone for its vision of rewarding content creators and
  developers more fairly online. “We chose Binance Chain because we believe it will be the foundation of a new
  app ecosystem for the exchange of digital assets among mainstream users,” the Gifto team said.

  9.   We want to try something new for our token swap mechanism

  Ankr prides itself as the first blockchain project to implement a triple token mechanism, and that was made
  possible with the migration of some of its tokens to Binance Chain. “The purpose of this model is to separate
  the utility of the currency from the speculation and to provide long term increasing liquidity for all our users, by
  being compatible with all major exchanges, including the Binance DEX,” according to Ankr’s team.

  10. We want to show that we can do it in a decentralized way One of the main value propositions of a
  decentralized network is the community-led process of joining and taking part. Anyone can choose to use
  Binance Chain and propose the listing of its token on Binance DEX. That’s what ChangeNow, a crypto exchange
  service, just did. As soon as Binance Chain was launched on mainnet, the project proposed to issue tokens on
  Binance DEX. Binance CEO Changpeng Zhao (CZ) acknowledged that ChangeNow is a peer and competitor to
  his exchange, but said that he supports its proposal nonetheless.

  “ChangeNow did issue their tokens without any communication or [coordination] with me or our team. The true
  decentralized way,” CZ said on Twitter about the listing.

  To know more about how to use Binance Chain, go here                            .




  To submit      a       proposal for listing on Binance DEX, go here                 .




  Learn more about Binance Chain and Binance DEX here                             .




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 Binance Blog

  Binance Weekly Report: Harmony on Launchpad                                                                                                                    +       DEX,
  #UseBNB Cases Up 50%                                                                                                                                                                                          Like this post
  2019-06-03


  Also in this weekly report (May 27 to June 2, 2019): Binance Singapore offers BNB, Binance Charity and
                                                                                                                                                                                                                Share Posts
  Ugandan NGO partner to help 100,000 children, a Binance meetup on a yacht(!) and so much more.




                                                                                                                                                                                                                Related Posts




                                                                                                                                                                                                                Web 3.0 Coin: The Newest Crypto
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  1.The Harmony token sale on Binance Launchpad concluded with 16,666 winning tickets held by 12,977 total
  winners. About 30.82% of all 54,076 claimed tickets had winning combinations, with each ticket granting
  94,503.78 ONE tokens to holders.
                                                                                                                                                                                                                Ukraine, Russia, Sanctions and Crypto




                                                                                                                                                                                                                Binance Launches Payments
                                                                                                                                                                                                                Technology Company, Bifinity




  But that’s just the start of the rollout for Harmony. As a token created on the community-led                                                                          Binance Chain,
  Harmony began trading on both Binance exchange and the decentralized exchange Binance                                                                                  DEX while also
                                                                                                                                                                                 ,


  running a trading airdrop on Binance DEX Over the course of the 5-day promotion, a total of
                                                                             .                                                                                           25,000,000 ONE
  tokens and 3,000 BNB tokens are being airdropped to people who trade Harmony tokens on                                                                                 Binance DEX.




  Numerous crypto observers noted that the promotion propelled Binance DEX to the top spot among
  decentralized exchanges in terms of trading volume. We are very grateful for the community’s support for
  Binance DEX. We also congratulate the winners of the #HarmonyLottery contest on Twitter                                                                            .




  2.Here’s the latest rundown on the use cases of Binance Coin (BNB) the official native token of Binance. BNB                ,


  has grown the number of its use cases by 50% in just two months, mainly driven by the launch of Binance
  Chain. Read this blog for more details on the new use cases.




  3.Speaking of new use cases for BNB, Binance Singapore has just launched trading for BNB and Ethereum The                                                                                  .


  fiat-to-crypto platform’s users can now use their Singaporean dollars to purchase BNB and Ethereum.




  In addition, Binance Singapore has launched a new promo for its new users. The platform will give out 5 $SGD
  to people who complete a total of 100 $SGD in valid trading volume across any pair. Users can also invite their
  friends to get an additional 5 $SGD per referral when they hit the same volume. Join the referral program here.




  To celebrate the listing of BNB and ETH, Binance Singapore                                          is    also giving away 10 Binance Hoodies. Join the
  hoodie promo here                     .




  4.Binance Jersey a fiat-to-crypto platform for Europe and the UK, announced that it will continue to give
                                ,                                                                                                                                                        a
  50% discount on all trading fees until this year ends. Click here to register for Binance Jersey                                                                       .




  5. Binance Charity the philanthropic arm of Binance, signed a Memorandum of Understanding (MOU) with Safe
                                    ,


  Future, a non-governmental organization (NGO) initiated by Uganda’s Minister for the Presidency, to provide a
  brighter future for 100,000 children in the country through the Binance for Children initiative. Read this article
  to know more about this new endeavor, and donate your crypto to Binance Charity’s projects to make a
  difference in the world.




  6.Binance Labs the investment arm of Binance, once again gathered the BUIDLers of Season 2 of the Binance
                       ,


  Labs Incubation Program This time, BUIDLers from all three of the program’s regional hubs received
                                                  .


  mentorship from Binance CEO Changpeng “CZ” Zhao.




  7. Binance’s educational arm Binance Academy talked about three of its new features -- an all-new glossary
  quiz text-to-speech feature for articles, and user navigation enhancements on this new article In addition,
         ,                                                                                                                              ,                                    .


  Binance Academy offered new content this past week, such as:

  - Stochastic RSI Explained [ New Video Here ] Learn how to know
                                                      .                                                          if       an asset          is   overbought or oversold using
  this technical analysis indicator.

  -    Margin Trading Understand how margin trading works, particularly when
                            .                                                                                                          it    comes to trading cryptocurrencies

  - New additions to the blockchain glossary: break-even point (BEP) cloud first-mover advantage (FMA) gossip             ,        ,                                                 ,


  protocol library and orphan block
             ,          ,




  8.   Binance Research has released the following publications during the past week:

  -The “Latest Insights & Analytics” research booklet, a compilation of all industry-level reports made between
  March and May 2019, covering diverse topics such as stablecoins, prediction markets, crypto halvings, and
  more.

  - A comprehensive report on IoTeX, a decentralized network for the Internet of Things. Read the team’s
  insights on the project in this report                             .




  Also, follow Binance Research on Twitter to get live access to the latest insights on the cryptocurrency
  markets, including this chart below outlining their latest insights on Ethereum.




  9.Binance held three meetups this past week. The Binance meetup in Istanbul, Turkey last May 29 was a                                                      ,


  celebration of both blockchain ecosystem and vibrant culture on a yacht off the city’s coast. Check out the
  awesome video below to see a one-of-a-kind meetup.




  The June 1 meetup in Hyderabad, India, was immediately followed by a June 2 meetup in Ahmedabad, India                                                                                         .


  This breakneck pace of blockchain-related gatherings across India shows the country’s passion for blockchain
  technology.




  10. Binance Podcast just released a new episode, this time featuring Alexandre Dreyfus, the CEO of Socios.com
  & Chiliz, in a discussion regarding the tokenization of the sports industry. Hear the full podcast below.


  11. Follow Trust Wallet on Twitter now, and be informed with                                             its   new Tweet series on the                         7   Essential Steps To
  Keep Your Wallet Secure                     .




  12. We are giving you a preview of the change that will come for Binance. Go to beta.binance.com now to
  experience what’s next.


  BONUS: Pics of the Week


                                                                             Seems pretty easy to follow…


                                                                                          This too…

  That’s a wrap for last week! Please follow us on Twitter Instagram and Facebook to stay up-to-date with our
                                                                                                 ,                    ,


  latest announcements. Join our official Binance Telegram group to participate in discussions with our users,
  staff, and volunteers. Speaking of Instagram...




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 Binance Blog

  Binance’s 2nd Anniversary Video Competition
  2019-06-06                                                                                                                                                                                                          Like this post



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                                                                                                                                                                                                                      Binance Blockchain Week 2022: Official
                                                                                                                                                                                                                      Announcement

  Join us in celebrating Binance’s 2nd anniversary by creating                                                  a   video and get      a   chance to win up to 200 BNB
  from a prize pool of 1000 BNB!



  Activity Period

  2019/06/06 09:00                           -   2019/07/07 09:00 (UTC)                                                                                                                                               Common NFT Scams & Safety Tips
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  How to Participate

  Step         1:    Create            a   video that covers either of the two options below:

  Option            1:    Binance Ecosystem

  Create a video about the Binance ecosystem, including but not limited to any of the following topics (or any                                                                                                        Metaverse Tokens: What, Why and How
  combination thereof):                                                                                                                                                                                               To Buy Them


        Binance Exchange*                                                                                                 Binance DEX



        Binance Launchpad                                                                                                 Binance Research



        Binance Labs                                                                                                      Binance Info



        Binance Charity Foundation                                                                                        Binance Chain



        Trust Wallet                                                                                                      Binance Academy




  * This includes crypto-to-crypto trading, including spot trading, and the upcoming margin trading feature, as
  well as Binance Coin and fiat-to-crypto channels such as Binance Uganda, Binance Jersey, and Binance
  Singapore.

  We’ll provide more details about each part of the Binance ecosystem at the bottom of this announcement.



  Option            2:    Binance Timeline

  Create a video that talks about Binance’s milestones, including at least 10 of the major events in the Binance
  ecosystem. We’ll provide several dates for major Binance events at the bottom of this announcement.

  Step 2 : Once you’ve finished creating the video, post it on YouTube. Then, share that video on Twitter,
  Facebook, or Instagram, tag @ Binance, and use the hashtags #MyBinance and #BinanceTurns2.

  Rewards

  1.The 10 most creative videos will share a total prize pool of 1,000 BNB The 1st to 3rd Place winners will split                                                                             a
  600 BNB prize pool. The 4th to 10th Place winners will split a 400 BNB prize pool                                                             .




  2.Other entrants whose submissions are created with one of the two options above will receive                                                                            2   BNB each
  based on our discretion

  Terms

  -    submissions must be original works of the entrants. Fill out this form provide your Binance ID, Binance
       All                                                                                                                        ,


  Account Email Address, and link to the source video file and the YouTube link for the video. If the participant
  does not fill out the form, he/she is deemed to have turned down the prize.

  -    All   submissions shall be done before 2019/07/07 08:00 (UTC)

  -Binance will announce the 10 video semi-finalists within 7 business days after the conclusion of the
  competition. The criteria for determining the top 3 winners are as follows:
    a. 70% based on the number of likes and retweets that a semi-finalist entry receives.


        b.   30% based on scores given by                           a   select panel of judges from the Binance team.

  -    Awards will be distributed 14 working days after the conclusion of the competition.

  - By participating in this competition, authorship remains with the entrant, but the entrant acknowledges to
  transfer the copyright of the submitted video to Binance. All participants grant Binance, including but not
  limited to, copy, edit, display and publish the submissions.

  -    Binance reserves the right of final interpretation.



  Appendix: Option                           1   (Binance Ecosystem)

  Binance Exchange: The leading global cryptocurrency exchange by trading volume, with users from over 180
  countries and regions. Capable of processing more than 1.4 million orders per second, Binance is one of the
  fastest cryptocurrency trading platforms in the world.

  Binance Coin (BNB): The native asset on Binance Chain. The BNB token has multiple forms of utility and
  powers the Binance Ecosystem as its underlying gas, currently ranked No. 7 by market cap among all
  cryptocurrencies.

  Binance Chain: A blockchain software system developed by Binance and the community.                                                                            It is a   community-
  driven project with developers and contributors from all over the world.

  Binance DEX: The decentralized exchange developed on top of the Binance Chain.

  Binance-Branded Fiat Exchanges (Binance Jersey, Binance Uganda, and Binance Singapore) : Binance-branded
  fiat-to-crypto exchanges which allow people to buy cryptocurrency using local currencies. Binance Launchpad :
  The exclusive token launch platform for entrepreneurs to bring the most transformative crypto projects to life.

  Binance Labs: an infrastructure impact fund and an initiative launched by Binance to incubate, invest                                                                           in,   and
  empower blockchain and cryptocurrency entrepreneurs, projects, and communities.

  Binance Charity Foundation (BCF) : A not-for-profit organization dedicated to the advancement of blockchain-
  enabled philanthropy towards achieving global sustainable development. Trust Wallet: T he official wallet of
  Binance. It is a decentralized mobile wallet application with a clean interface and high level of security,
  designed to facilitate the adoption of cryptocurrencies for users with any level of knowledge of
  blockchain. Binance Academy: An open access learning hub created by Binance, providing a one-stop center
  for blockchain and crypto learning resources.

  Binance Research: Provides professional, data-driven insights and analysis for investors in the crypto space to
  increase the level of transparency and improve the quality of information within the current crypto
  ecosystem. Binance Info: A comprehensive and objective information aggregation platform with a compilation
  of project white papers, industry news, market data, and independent ratings and reports on crypto assets.

  Appendix: Option                           2   (Binance Timeline)




        July    2,   2017                                       ICO successfully completed with $15 million USD raised



        July    8,   2017                                       Binance issues Binance Coin (BNB)



        July 14, 2017                                           Binance Exchange launches on July 14th, 2017 at 12:00 (UTC+8)



        September                1,   2017                      Binance holds 1st Community Coin session



        September 11, 2017                                      Binance releases Android & iOS apps



        October 15, 2017                                        Binance completes 1st Binance Coin Burn (986,000 BNB)



        October 30, 2017                                        Binance launches Binance Labs



        November                6,    2017                      Binance launches Windows PC client



        November                6,    2017                      Binance launches Binance Launchpad



                                                                Binance becomes No.1 exchange on CoinMarketCap by 24-hour
        December 17, 2017
                                                                trading volume



        December 26, 2017                                       Binance Coin (BNB) market cap exceeds $1 billion



        December 28, 2017                                       Binance’s 24-hour trading volume exceeds $10 billion



        January 17, 2018                                        Binance surpasses           6   million registered users



        February           5,    2018                           Binance Info beta launch



        February           7,    2018                           Binance CEO Changpeng Zhao (CZ) featured on the cover of Forbes



        March 22, 2018                                          Binance launches Mac Client



        March 23, 2018                                          Malta Prime Minister welcomes Binance to Malta



        May 23, 2018                                            Binance launches Education Initiative, precursor of Binance Academy



        May 31, 2018                                            Binance Labs establishes $1 billion Binance Ecosystem Fund (BEF)



        June 28, 2018                                           Binance announces Binance Uganda fiat-cryptocurrency exchange



        July 14, 2018                                           Binance forms Secure Asset Fund for Users (SAFU)



                                                                Binance available in 12 languages: English, Chinese, Dutch, French,
        July 14, 2018                                           German, Italian, Korean, Portuguese, Russian, Spanish, Turkish,
                                                                Vietnamese



        July 31, 2018                                           Binance acquires Trust Wallet



        August 14, 2018                                         Binance Academy Beta Launch



        August 22, 2018                                         1st Binance Labs Incubation Program Launch



        October           4,    2018                            Binance invests       in   TravelbyBit



        October           8,    2018                            Binance announces to donate 100% listing fee to charity



                                                                Binance accepts strategic investment from Vertex Ventures to launch
        October 23, 2018
                                                                Binance Singapore



                                                                CZ speaks at UNCTAD WIF and launches Binance Charity portal for
        October 24, 2018
                                                                100% transparent donations



        November                2,    2018                      Binance awarded CSR of the Year by Malta AI & Blockchain Summit



        November                9,    2018                      Binance launches Binance Research



        December                6,    2018                      Binance introduces Sub-Account support



                                                                Binance elected Most Trusted Crypto Exchange                      in   Coinspeaker
        December 24, 2018
                                                                survey



                                                                Binance CEO Changpeng “CZ” Zhao named CoinDesk’s Most
        December 31, 2018
                                                                Influential in Blockchain in 2018



        January 16, 2019                                        Binance Jersey launch



        January 23, 2019                                        Binance launches OTC trading desk



        January 24, 2019                                        Trust Wallet 2.0 goes live, integrating 14 blockchains



                                                                Binance Labs introduces Incubation Program Season                           2       and Binance
        January 28, 2019
                                                                Labs Fellowship Program



        January 31, 2019                                        Binance enables debit and credit card payments through Simplex



        March        6,   2019                                  BNB hits all-time-high of 0.00397508 against BTC



        March        7,   2019                                  BNB ranks top     7   by market capitalization according to CoinMarketCap



        March 20, 2019                                          Binance Lite Australia Beta Launch



        April 23, 2019                                          Binance Chain Launch



        April 23, 2019                                          BNB mainnet swap completed



        May 21, 2019                                            Margin trading closed test



        May 30, 2019                                            Binance Singapore Launch




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 Binance Blog

  Binance Research Debuts First Series on Decentralized
  Finance: Growing Ethereum Use Case for Cryptoasset                                                                                                            Like this post

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                                                                                                                                                                Binance Labs Incubation Program: It’s
                                                                                                                                                                a Wrap For Season 3, Applications Now
                                                                                                                                                                Open for Season 4!




  Binance Research the market analysis arm of global cryptocurrency exchange, Binance has released the first
                           ,                                                                                          ,


  research report on a new series analyzing Decentralized Finance, also known as DeFi or Open Finance, which
  has grown to become one of the main applications of the Ethereum blockchain. Throughout the DeFi Series,
  Binance Research will provide insights on one of the most compelling use cases for blockchain technology, and
  the first report in the series specifically focuses on the field of decentralized cryptoasset lending and
  borrowing.                                                                                                                                                    Metaverse Tokens: What, Why and How
                                                                                                                                                                To Buy Them
  “While the Open Finance initiative is, by nature, platform-agnostic, DeFi applications are almost exclusively
  being developed and used on Ethereum,” Binance Research pointed out in the report titled DeFi Series #1 -
  Decentralized Cryptoasset Lending & Borrowing                   .




  According to Binance Research, decentralized finance protocols, or DeFi applications, offer several promising
  advantages over traditional financial products, such as:

  -   Transparency and price efficiency as prices are subject to market demand
                                                                                                                                                                Crypto Spot vs. Crypto Futures Trading
  -   Ease of access and speed when borrowing/lending capital                                                                                                   - What’s the difference?


  -   Censorship resistance and immutability

  Nonetheless, the report points out that the experimental nature of these financial primitives translates to
  specific disadvantages, such as:

  -   Technology risk (smart contract risk replaces counterparty risk)

  -   Low liquidity (limits to borrowing and lending at current interest rate without

  materially affecting the equilibrium interest rates)

  “Overall, the crypto-powered lending space is still nascent but offers a compelling value proposition whereby
  individuals and institutions can move past outdated credit models to provide broader access to capital without
  the need for a trusted intermediary,” according to Binance Research.

  Read the     full   report here.

  About Binance Research

  Binance Research provides professional, data-driven insights and analysis for investors in the crypto space to
  increase the level of transparency and improve the quality of information within the current crypto ecosystem.
  The team consists of professionals with a background and experiences in blockchain engineering, investment
  banking, strategy consulting, academic research and data science. For more information, visit:
  https://research.binance.com/




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 Binance Blog

  Binance Labs Reveals 13 Startups                                                                  in its    Incubation Program
  2019-06-05                                                                                                                                                                     1




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                                                                                                                                                                               2022

  June 5, 2019 - Binance Labs the venture arm of leading cryptocurrency exchange Binance, today announced
                                                   ,


  the 13 newest projects to graduate from its incubation program. With regional chapters on three continents,
  the Binance Labs Incubation Program focuses on helping top founders bootstrap and achieve product-market
  fit in the global blockchain landscape.


  “For the Binance Labs Incubation Program, we search all over the world for the strongest founders and
  projects to invest in,” said Ella Zhang, Head of Binance Labs. “We are proud to have found 13 gems in Season
  II, and to have spent the past 10 weeks working with the BUIDLers to launch their demos and gained early                                                                     Join the Binance Affiliate Program
  traction.”

  Launched last year, the Binance Labs Incubation Program is an onsite program designed to invest in and help
  entrepreneurs deliver products with clear product-market fit, as well as tangible solutions that provide
  sustainable growth of the global blockchain ecosystem. Season 2 of the incubation program began in March
  2019 and concludes on June 7, 2019, during BUIDLers Day, an invite-only pitch event where the project teams
  will meet with investors from the ecosystem. To learn more and request an invite, contact labs@binance.com                                            .




  “From in-app monetization to cash-to-crypto kiosks in Africa, this batch of projects represents the diversity                                        in                      How To Use Binance Earn To Earn
  blockchain and entrepreneurship globally,” said Zhang. “We are excited to see firsthand the progress being                                                                   Compound Interest and Maximize Your
  made in every corner of the world to push blockchain forward.”                                                                                                               Crypto Gains

  About Season                   2   startups of the Binance Labs Incubation Program:

  1.   BaseZero             -   Uncompromising security for crypto institutions

  2.   Bit Sika - A direct to recipient model for donations through crypto

  3.   Cere - The               first   blockchain CRM ecosystem platform

  4.   Dune Analytics - All-in-one destination for blockchain data

  5.   Keylabs          -   Decentralized blockchain security

  6.   Lucky Clover Global - An iGaming ecosystem on blockchain started from sportsbook

  7.Marlin Labs - A Layer-0 scaling solution for public blockchains providing                                    a   plug and play network stack to
  improve throughput

  8.   Mavrik       -   The NFT Company

  9.   PhishFort            -    Anti-phishing solutions for the crypto companies and users

  10. Raise         -   Simplifying private securities ownership                  in   frontier markets

  11. Tellor - A decentralized oracle for decentralized finance

  12. Xend          -   Make and receive payments, offline or online

  13. Yellow Card - Cash-to-crypto on-ramp for emerging markets

  Season 3 of the Binance Labs Incubation Program begins                                     in    October, and applications will open soon at
  https://www.binancelabs.co/                          .




  Follow Binance Labs on Twitter at @BinanceLabs to stay up-to-date with the Binance Labs Incubation
  Program the Binance Labs Fellowship – which supports open-source blockchain developers and researchers –
                ,


  and other initiatives.

  About Binance Labs

  Binance Labs is the venture arm of Binance, the world’s leading cryptocurrency exchange, to grow the
  blockchain and cryptocurrency ecosystem by empowering top tier developers/researchers, incubating
  outstanding entrepreneurs and investing in growth-stage startups with best ideas. For more information about
  Binance Labs, visit: https://labs.binance.com/

  About Binance

  Binance is a blockchain ecosystem comprised of several arms to serve the greater mission of blockchain
  advancement and the freedom of money. The Binance ecosystem is comprised of Binance Exchange (the
  leading global cryptocurrency exchange), Labs (venture capital arm and incubator), Launchpad (token sale
  platform), Academy (educational portal), Research (market analysis), Charity Foundation (blockchain-powered
  donation platform and non-profit for aiding in sustainability) and Trust Wallet (Binance’s official multi-coin
  wallet and dApps browser), as well as Binance Chain, a blockchain software system developed by Binance and
  the community.




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 Binance Blog

  Play Harmony Puzzle to Enter                                                a    $30,000 ONE Token
  Giveaway!                                                                                                                                                                 Like this post
  2019-06-11

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                                                                                                                                                                            A Letter from Our CEO: Customer
                                                                                                                                                                            Service Upgrades and Our
                                                                                                                                                                            Commitment to Our Users


  Harmony is launching a reward program for playing their puzzle game “ Harmony Puzzle ”, exclusively to
  Binance users with a total of $30,000 ONE tokens to give away as a reward. Each user will have a chance to win
  1 of 1,500 places, with each place getting $20 worth of ONE tokens for free.


  Competition Period

  2019/06/11 8:00 AM — 2019/6/17 8:00 AM (UTC)                                                                                                                              First DeFi Project on Binance: The
                                                                                                                                                                            PancakeSwap Mini Program Bringing
  Instructions                                                                                                                                                              the CeFi and DeFi Ecosystem Together

  Play Harmony Puzzle on any Internet browser! Simply play, and clear levels to unlock the “redeem your
  Binance referral ID” pop up to enter the giveaway.

  Harmony Puzzle is extremely easy to play: use your arrow keys (On PC) or swipe/tap on mobile to move the
  cursor to adjacent blocks. Once a cursor moves to a block, the number in the block increases by one. The goal
  is to make the numbers on all 9 blocks equal, so that they are in “harmony”.


  Check out this 20-second explainer video for more info:
                                                                                                                                                                            Layer 1 Blockchain Tokens: Everything
                                                                                                                                                                            You Need to Know




  How to participate

  1.   Copy your Binance referral ID

  2.   Go to https://puzzle.harmony.one

  3.   Clear levels to unlock the “Redeem Binance referral ID” pop-up

  4.   Select “Redeem”

  5.   Keep playing     :)



  Report Issues

  Ifyou encounter any technical issues during the gameplay, please contact the technical support team at
  https://t.me/harmony_one

  Terms

  1.   The $20 prize value       is    based on      a   USD price per ONE token set by Binance on the day of prize distribution.

  2.   1,500 users will be selected at random by Harmony.

  3.Users are limited to one entry per Binance account. Any multiple entries using any of the former will result                                     in
  disqualification of all entries.

  4. Binance reserves the right to cancel or amend the Competition or Competition Rules and/or terms at our
  sole discretion.

  5.   Binance reserves the right to disqualify participants should they display attributes of malpractice.

  6.ONE token rewards will be issued within 2 weeks after the competition ends. You will be able to log                                  in   and
  see your prize via the Distribution History in your Account Center.

  7. Risk warning: Cryptocurrency investment is subject to high market risk. Binance is not responsible for any
  direct, indirect or consequential losses as a result of the competition. Please make your investments with
  caution.

  What      is   Harmony?



  Built by a team featuring engineers and leaders from Google, Apple, Amazon, Stanford, and Harvard, Harmony
  is a fast and secure blockchain with key innovations in state sharding and peer-to-peer networking. Its
  sharding uses secure proof-of-stake and decentralized randomness, and its networking achieves optimal
  cross-shard routing and fast block propagation.

  Harmony helps businesses build marketplaces of fungible tokens (such as energy credits and loyalty points)
  and non-fungible assets (such as game collectibles and real estate).

  Harmony is applying zero-knowledge proofs for data sharing while preserving the consumer’s privacy.
  Common industry use cases include ad exchanges, credit ratings and many other data consortia that would
  otherwise take many years to form among competing companies.




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 Binance Blog

  Binance Weekly Report: Binance Stablecoins, Buy BNB with
  Credit Cards, Trust Wallet x Binance Chain                                                                                                                                                                                 Like this post
  2019-06-10


  Also in this weekly report (June 3 to 9, 2019): Binance hires new strategy officer, 10 blockchain companies give
                                                                                                                                                                                                                             Share Posts
  their reasons for choosing Binance Chain, Binance Labs reveals startups for Season 2 of its Incubation
  Program, and more!



                                                                                                                                                                                                                             Related Posts




                                                                                                                                                                                                                             7   NFT Games to Play-to-Earn   in   2022




  1.Binance CFO Wei Zhou revealed that Binance will create new stablecoins. During a panel discussion at
  Money 20/20 Europe, the Binance CFO said that the Binance is currently testing a stablecoin pegged to British                                                                                                              Crypto Futures Trading For Beginners:
  Pounds, with plans to launch it in the future.                                                                                                                                                                             Here’s a 5-Step Plan to Get Started!




                                                                                                                                                                                                                             Join the Binance Affiliate Program




  “BGBP, which we are currently testing and will launch in the future, is an effort to diversify the stablecoin
  assets offered in the ecosystem. In line with Binance's mission, we would like to provide users with more
  freedom of choice,” Wei said.

  2. You can now buy Binance Coin (BNB) using credit cards such as those issued by Visa and MasterCard! BNB
  now joins Bitcoin, Ethereum, Litecoin, Ripple, and Bitcoin Cash as the official cryptocurrencies that you can buy
  on Binance using credit cards. Check out our upcoming new page for buying cryptocurrencies such as BNB
  with credit cards and other fiat options.




  3.Trust Wallet the official crypto wallet app of Binance, has officially launched support for trading on Binance
                               ,


  DEX the community-led decentralized exchange built on Binance Chain. With this integration, experience the
           ,


  freedom to choose how you trade your digital assets on Binance DEX, while you retain complete ownership of
  funds on your Trust Wallet. Read here for more info.




  Aside from integration on Trust Wallet, here are some more updates on Binance DEX and Binance Chain:                                                                                         *
  Binance Coin, the native token of Binance Chain, is now available for swapping on Changelly                                                                         .




  * UnificationUND is migrating to Binance Chain, with                                     its           listing proposal for Binance DEX to come soon                                     *
  Binance DEX has listed Gifto and Ankr                              .




  *    DDEX Wallet launches support for Binance Chain.

  *    NOWPayments’ non-custodial service now allows                                      its        users to accept Binance Coin from Binance Chain.

  These are just some of the newest additions to the Binance Chain network of blockchain projects. To know
  more about what drives these companies to trust Binance Chain, read this new article: 10 Reasons Why
  Blockchain Projects Choose Binance Chain                                    .




  4. Binance Labs the investment arm of Binance, announced the 13 newest projects to graduate from Season
                                   ,                                                                                                                                                                    2
  of the Binance Labs Incubation Program With regional chapters on three continents, the Binance Labs
                                                                         .


  Incubation Program focuses on helping top founders bootstrap and achieve product-market fit in the global
  blockchain landscape. Get to know more about these 13 projects on this new article                                                                  .




  We also congratulate Binance Labs for its recently concluded BUIDLers day for all Incubation Program projects
  this season. Special thanks to the 13 Incubation Program teams, including 41 BUIDLers across 4 continents, as
  well as the 43 program mentors and more than 150 strategic partners who were part of the program and
  closing event.

  5.Binance welcomed Gin Chao as its Strategy Officer A former Vice President of Strategy and Corporate
                                                                                           .


  Development at the National Basketball Association and Director of Strategy at Dell, Chao joins Binance to
  oversee its global strategy, ranging from the Labs to strategic fiat-to-crypto gateways.




  6. Binance Research the market analysis arm of global cryptocurrency exchange, Binance, has released the
  first research report on a new series analyzing Decentralized Finance, also known as DeFi or Open Finance.
  “While the Open Finance initiative is, by nature, platform-agnostic, DeFi applications are almost exclusively
  being developed and used on Ethereum,” Binance Research pointed out in the report titled DeFi Series #1 -
  Decentralized Cryptoasset Lending & Borrowing                                       .




  7.   Binance’s educational arm Binance Academy offered new content this past week, such as:

  - What Are Options Contracts? Understand how options contracts work, and how                                                               it   is      different from futures
  contracts.

  -    New additions to the blockchain glossary: Collateral Decentralized Finance (DeFi) Gas Layer
                                                                                                ,                                                 ,             ,             2   ,   and Moon      .




  8. Binance Podcast just released a new episode, this time featuring Thomas Lee, Co-founder of Fundstrat
  Global. He shares his thoughts from a fundamental valuation perspective on the current crypto market and on
  the Wall Street FoMo mentality. Hear the full podcast below.




  Binance Podcast invites leaders, entrepreneurs, scholars and influencers from different industries as guests to
  talk about how blockchain technology affects their respective industries and how it’s gonna change the world.
  Since its launch, Binance Podcast has gained 10,109 listens on Buzzsprout, 10,035 subscribers on Castbox, and
  3,632 views on YouTube. Thank you very much for your continued support. Follow Binance Podcast on the
  following channels: iTunes Spotify Stitcher YouTube Castbox and Buzzsprout
                                                 ,               ,                ,         ,                    ,                      .




  9. TravelbyBit the Binance-backed Australian company that supports crypto adoption in the travel and tourism
                           ,


  industries, has launched a payment gateway that fully supports Binance Coin and is powered by Binance
  Chain! Go to their website to check out their latest deals and offers.




  10. Binance held three meetups this past week. The Binance meetup in Moscow, Russia last June                                                             ,                         4   was the
  biggest Binance meetup yet. Chief Growth Officer Ted Lin graced the event as special guest.




  The meetup in Amsterdam, the Netherlands, also held on June 4 featured CFO Wei Zhou as special guest and           ,


  focused on the convergence of blockchain and finance. Appearances like Ted’s and Wei’s on our global events
  further highlight Binance’s commitment to our global communities.




  Meanwhile, Binance held its first-ever meetup in Johannesburg, South Africa last June                                            ,                        6.      This community-led
  campaign was made possible by Binance Angels in the area.


  11. Speaking of Ted Lin, Binance’s Chief Growth Officer was a distinguished panelist at the Saint Petersburg
  International Economic Forum. “People can choose a centralized or decentralized exchange, either
  Binance.com or Binance DEX. We are not betting on one or another, we are betting on crypto adoption which
  means providing choices.”




  12. To celebrate Binance’s upcoming 2nd anniversary, we launched a video contest. Get a chance to win up to
  200 BNB from a prize pool of 1000 BNB! Create a five-minute video that talks about the Binance ecosystem or
  milestones. Read the full instructions here                                .




  13. Trust Wallet capped off the work week by offering free beer money in the form of BNB. The promo selected
  20 winners of free BNB from those who downloaded the Trust Wallet app and replied to this tweet with their
  BNB address.




  14 Speaking of promos, we recently concluded the Harmony trading airdrop on Binance DEX. Congratulations
       .


  to all the winners and thank you for participating in this airdrop.




  BONUS: Pic of the Week


       Not     all   heroes wear capes. But when they do, they wear Binance capes. Want one? Join our Binance Angels
                                                           program now!

  That’s a wrap for last week! Please follow us on Twitter Instagram and Facebook to stay up-to-date with our
                                                                                                     ,                   ,


  latest announcements. Join our official Binance Telegram group to participate in discussions with our users,
  staff, and volunteers.


                            Happy Eid Mubarak! Join our Binance Arabic group. Join our Binance Turkish group.


                                       端午节快乐! (Happy Dragon Boat Festival!) Join our Binance Chinese group.




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  Binance Announces Former NBA and Dell Corporate
  Development Executive as Strategy Officer                                                                                                                   Like this post
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  The global cryptocurrency exchange and blockchain ecosystem, Binance today announced the addition of Gin
                                                                                            ,


  Chao as Strategy Officer to the company where he is leading the corporate development, venture investment
  and legal departments. Chao brings an extensive background of developing and managing strategic investment
  opportunities as well as overseeing cross-regional business growth opportunities in Asia and the U.S.

  Chao joins Binance to oversee its global strategy, ranging from the company’s venture capital (VC) arm,                                                     Join the Binance Affiliate Program
  Binance Labs to its strategic fiat-to-crypto gateways, including the creation of new partnerships and banking
                     ,


  relationships for Binance Singapore Binance Uganda and in emerging regions such as Latin America. Chao will
                                               ,


  also create new business opportunities for Binance’s existing and forthcoming partners, as well as acquire
  capabilities that bridge departments company-wide.

  “We are thrilled to welcome Gin as our latest leadership hire to strengthen our business ventures and strategy
  across our global ecosystem,” said CEO of Binance, CZ (Changpeng Zhao). “He will play a key role in driving our
  strategic business goals that span across the globe, and we are confident that he will help realize new avenues
  of opportunities alongside the core executive team.”
                                                                                                                                                              How to Set Up and Use Trust Wallet for
                                                                                                                                                              Binance Smart Chain
  As former Vice President of Strategy and Corporate Development at the National Basketball Association (NBA),
  Chao led new asset and investment opportunities, including scalable business models, and will leverage his
  previous experience for Binance. Chao also led new growth opportunities and oversaw merger and acquisitions
  (M&A) and joint ventures in the Asia-Pacific region during his time at Dell as Director of Strategy.

  Additionally, Chao will facilitate opportunities that connect the token economy to traditional VC structures for
  Binance Labs and Binance Launchpad Prior to Chao’s roles at the NBA and Dell, he spent 15 years in the U.S.
                                                   .


  leading acquisitions at Sovereign Investment Company, Deutsche Bank's new media investment banking
  group, where he raised over $2 billion in capital for Web 1.0 companies and Price Waterhouse’s management
  consulting division.

  “I’m honored to be joining CZ and the team during this incredibly exciting time for the industry,” said Gin Chao,
  Strategy Officer at Binance. “I’ve followed the growth of the senior executives at Binance over the years and
  it’s a testament to CZ’s vision and leadership to have formed such a talented and accomplished group. The
  level of personal and professional commitment throughout this entire organization is unparalleled and the
  results speak for themselves. I’m looking forward to working with the team on building and providing
  sustainable blockchain-based services that accelerate cryptocurrency adoption and support our overall
  mission.”

  About Binance Exchange

  Binance Exchange is the leading global cryptocurrency exchange by trading volume, with users from over 180
  countries and regions. Capable of processing more than 1.4 million orders per second, Binance is one of the
  fastest cryptocurrency trading platforms in the world. The platform focuses on security, robustness and
  execution speed—attracting enthusiasts and professional traders alike. For more information, visit:
  https://www.binance.com

  About Binance

  Binance is a blockchain ecosystem comprised of several arms to serve the greater mission of blockchain
  advancement and the freedom of money. The Binance ecosystem is comprised of Binance Exchange (the
  leading global cryptocurrency exchange), Labs (venture capital arm and incubator), Launchpad (token sale
  platform), Academy (educational portal), Research (market analysis), Charity Foundation (blockchain-powered
  donation platform and non-profit for aiding in sustainability) and Trust Wallet (Binance’s official multi-coin
  wallet and dApps browser), as well as Binance Chain, a blockchain software system developed by Binance and
  the community.




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                                   Gift Card                          Historical Market Data                                          Buy SHIB
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 Binance Blog

  Binance 2.0: Trading Evolved.                                                 9    Features to Explore with the
  Binance.com Upgrade.                                                                                                                                                        Like this post
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                                                                                                                                                                              2022




  Binance has been in operation for just shy of two years, and the amount of changes that we’ve been through in
  that period has been remarkable. We’ve made numerous reassessments on how we can grow further, and one
  thing that keeps coming up is our commitment to making our user experience better.

  Hence, Binance 2.0 was born. Our team explored how our Binancians use the website and identified a lot of the                                                               Exploring Market-Neutral Strategies   in

  areas where we can improve the way users interact with our platform. We have now started launching the new                                                                  Crypto-Derivatives
  design to some Binance users, with total rollout anticipated in the coming days.




                                                                                                                                                                              Bitcoin Button Game — Click The
                                                                                                                                                                              Button To Win A Bitcoin




  Check out the new Binance.com website here For other languages .                                   in   addition to English, here are the links to
  14 other languages supported by Binance:


       Chinese (Simplified)                                                          Chinese (Traditional)



       Korean                                                                        Russian



       Spanish                                                                       French



       German                                                                        Turkish



       Vietnamese                                                                    Dutch



       Portuguese                                                                    Italian



       Polish                                                                        Indonesian




  Also, check out this brief video below the evolution of trading on Binance. Subscribe to our YouTube channel
  here!




  Here are some of the things we revamped for the website.

  1.   Margin trading   is    just one tab away

  Margin trading, perhaps one of the most anticipated upcoming features on Binance, will be prominently
  featured on Binance 2.0. On each webpage, for any trading pair that features margin trading, you can toggle
  between exchange and margin trading options. Margin trading will roll out soon after the upgraded website                                          is
  activated for all users.




  Want to experience margin trading ahead of its upcoming launch? Just fill out this form to qualify. We will soon
  pick 1,000 lucky participants for the last round of tests for margin trading.




  2.   One-stop shop for buying crypto using cash

  Another major update in the revamped Binance website is a new webpage where you’ll see all your options for
  buying cryptocurrency using fiat, whether by converting to stablecoins or using your credit card.

  For instance, you can now buy Binance Coin (BNB) using credit cards such as those issued by Visa and
  MasterCard. (You can also buy Bitcoin, Ethereum, Litecoin, Ripple, and Bitcoin Cash while you’re at it.) In
  addition, Binance gives you options for using stablecoins like TrustToken and Paxos to either buy or sell.




  3.   A comprehensive User Center that displays                     all   the information you need            in   one place

  On the revamped User Center, the first thing you see after you log                             in   to your account, we show you more of the
  information that matters to you, neatly arranged under five tabs.




  Through Dashboard, the first tab displayed, see your balances and commissions at first glance, as well as your
  trading fee level, your balances and volumes, and your open orders, across both exchange trading and margin
  trading platforms.

  Security is still first and foremost, but we now offer you a checklist of what you need to do for account security
  in a neat box up top, for a more user-friendly experience. For more details on what you need to do for your
  account, you can go to the Security tab for a complete list of security-related actions.

  4.   Sitewide visual enhancements

  Binance 2.0 isn’t just about new features. The revamp is also about getting it right when it comes to user
  experience. This involves using a more consistent visual language across different parts of the website. These
  changes, from icons used to font arrangements, may seem minor when seen individually, but each element
  contributes to an easier-to-navigate platform for trading and using your Binance account.

  5.   More information up front about Binance

  The improved design philosophy underlying the revamped website can be seen from the get-go. At the home
  page, you’re greeted with an easy-to-view auto-scroll of the latest offerings across the ecosystem, with news
  bulletins at the bottom, plus an announcement section under the banner slides that displays important news
  bulletins.




  Up next, we offer you the standard markets list, with the option to see them all or just view the first 10, plus an
  easy-to-understand overview of what Binance offers. For any comments you have about the new design,
  please let us know through the Feedback button at the bottom of the site.




  It’s just not the home page that offers more options right from the get-go. The revamped header and footer
  also contain links to each division of the Binance ecosystem, as well as quick ways to access important links                                           in
  the website. You can even change the fiat currency displayed -- choose from US Dollar, Chinese Yuan, Euro,
  British Pound, Japanese Yen, Russian Ruble, or South Korean Won. You can also change the language
  displayed on the website among the 15 languages we support.




  6.   Better support for 15 languages across the website

  These 15 languages represent how much Binance has grown over the past two years. And we saw Binance 2.0
  as an opportunity to further refine our support for these languages. The Binance team takes the mission of
  bringing freedom of money to everyone, regardless of country or language.

  Hence, we greatly expanded the team that works on translations,                               making sure that there’s at least one point
  person who’s a local speaker for each language supported on the                               website. We believe that more accurate
  translations lead to a better, more localized user experience. This                           actually matters, because when we get
  better at speaking your language, we show how serious we are at                               serving you well and gaining your trust.

  Do you want to see more languages on the Binance website? Let us know here.

  7.   Learn about what Binance can do through               a       more interactive About Binance page

  One big change we did to the Binance website is on the About Binance section. Two years since its launch,
  Binance has expanded into an entire blockchain ecosystem that spans several divisions, and the revamped
  About Binance page gives a better picture of how much Binance has expanded.




  In addition, you can explore a new Binance Coin page that gives more information on each of the 80+ use cases
  for BNB, plus several more in the coming days.

  8.   Enhanced website performance

  Supporting all these new and upgraded features on our website is a better back-end framework. We’ve made
  the framework for the front-end features of the platform more distinct from the other, more back-end features.
  This way, the website’s performance and security are enhanced. This results in faster loading speeds for just
  about every corner of the website, as well as fewer tickets raised for our Support Center. Speaking of which...

  9.   Get better support fast with our revamped Support Center

  Our approach to enhanced user experience extends to one of the areas of the website where it’s needed the
  most: Customer Support. We’re moving beyond segmenting our support between announcements and FAQs.
  With the revamped page, you can use the search bar to quickly access potential solutions to your problems, or
  jump into our most frequently used support topics, including basics and FAQs.




  These are just some of the updates and revamps we’ve made already, and there’s more in store for later.
  Enhancements across the Binance ecosystem will continue beyond Binance 2.0, and we maintain our core
  philosophy of delivering better experience to all Binancians as fast as possible. That’s what #BUIDL is all
  about.

  Do you have suggestions or comments on the upgraded Binance website? Let us know here.




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 Binance Blog

  #UseBNB: Get Free BNB on Bitcoin Rewards                                                                 +       Book       a   Flight
  on TravelbyBit With BNB                                                                                                                                              Like this post
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  As of the end of May, there were at least 83 confirmed used cases for Binance Coin We’ve increased the       .


  number of use cases for BNB by more than 50% in just two months. All of these cases drive real-world
  adoption for crypto in their own ways. But for this article, we focus on two such use cases that are among the                                                       Common NFT Scams & Safety Tips
  most on-the-ground, mass-oriented use cases for BNB: TravelbyBit and Bitcoin Rewards.                                                                                2022

  Last week, Australian company TravelbyBit launched its Binance Chain-powered payment gateway platform,                                           a
  first in the world, on beta, allowing users to book flights and hotels using BNB. And recently, Bitcoin Rewards                              ,


  an Australian platform that offers rewards in the form of cryptocurrency for various online purchases, has
  added BNB as a rewards option across hundreds of merchants worldwide.

  Let’s take a closer look into these two frontliners          in   the movement for crypto adoption, starting with the
  newest addition to the #UseBNB family.
                                                                                                                                                                       First DeFi Project on Binance: The
  Bitcoin Rewards: Now With BNB                                                                                                                                        PancakeSwap Mini Program Bringing
                                                                                                                                                                       the CeFi and DeFi Ecosystem Together
  Bitcoin Rewards offers a compelling case for spreading the use of crypto by giving it away for free to online
  shoppers. And now, the innovative rewards platform known for giving away Bitcoin to its users is now adding
  BNB as a reward option.

  Now, how do you get BNB for free via Bitcoin Rewards? Start by creating a free account on the website. Then,
  browse through the platform’s network of about 1,200 stores in Australia, Brazil, Canada, New Zealand, United
  Kingdom, United States, and other parts of the globe. You won’t run out of options for shopping, as you’re
  offered 21 categories.

  Once you pick a store from Bitcoin Rewards’ list, just click on the link and shop as you normally would. Within
  48 hours of a successful purchase, the dashboard on your BitcoinRewards account will update to reflect the
  'pending' reward value. Once the return period for the purchase has ended, your reward will update to
  approved and you can claim BNB.

  How much BNB are we talking about? On average, you can get 7.45% of the amount you spent as                                     a   crypto
  reward. Even better, this BNB is in BEP2 format as the native token of Binance Chain.

  “We’d say there is a good chance you already shop online, it’s now just a matter of joining thousands of other
  members taking advantage of getting BNB for free by making Bitcoin Rewards your first point of call before you
  hit the shops,” Kahn Hood, CEO of Bitcoin Rewards, said.


  Bitcoin Rewards also launched a new promo to celebrate the launch of BNB on the rewards platform. Just sign
  up to be a new member at Bitcoin Rewards and add BNB as your preferred method of crypto reward to be part
  of the promo. Winners selected via a lucky draw will win a 3-night luxurious accommodation package at
  Australia's first crypto town, Agnes Waters. Included within this package is a chance to experience an amazing
  boat cruise to Lady Musgrave Island to enjoy the sights of the Southern Great Barrier Reef first-hand. Promo
  runs from June 13 to 30, 2019. For more details about the promo, go to this website

  TravelbyBit: The Expedia of Crypto

  TravelbyBit, a company that makes it very easy for shops to accept crypto payments has come a long way. Last
  week, TravelbyBit Beta launched as an online travel booking platform with a payment gateway powered by
  Binance Chain. With the speed and performance of Binance Chain, TravelbyBit allows users to book over 1
  million flights and hotels by paying in BNB, Bitcoin, or Litecoin.

  The startup has always been destined to make great innovations. In May 2018, it transformed Brisbane Airport
  into the world’s first cryptocurrency-friendly airport. As a result, Binance partnered with TravelbyBit in October
  2018, with the goal of building a global point-of-sale (POS) payment system that incorporates blockchain
  technology into major airports around the world. Our partnership intends to replicate what TravelbyBit has
  done for Brisbane Airport to every major airport in the world.

  “Our companies want to see blockchain and digital currency adoption grow around the globe. The support
  from Binance has enabled us to focus on building cool stuff for the community. Crypto is a social movement
  and Binance has allowed us to keep TravelbyBit focused on the community,” TravelbyBit CEO Caleb Yeoh said
  about the partnership.



  The TravelbyBit team was also instrumental in launching Binance Lite Australia which allows Australians to
                                                                                                      ,


  buy Bitcoin using Australian dollars across a network of 1,300+ supported newsagents (Australia-speak for
  newsstands). In addition, the team actually paved the way for Bitcoin Rewards’ use of BNB.

  The next steps for TravelbyBit include launching a platform that allows for bus and train payments in crypto,
  positioning itself as the Expedia of crypto, a one-stop shop for all travel needs, from transportation to
  accommodations. We look forward to more innovations and opportunities that TravelbyBit will open up not
  only for Binance but also for worldwide crypto adoption in general.




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 Binance Blog

  Binance Labs Fellow: Hashmap, a Grin Core Dev, with
  Knockturn Allee, a Payment Processor                                                                                                                                                                        Like this post
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                                                                                                                                                                                                              A Letter from Our CEO: Customer
                                                                                                                                                                                                              Service Upgrades and Our
                                                                                                                                                                                                              Commitment to Our Users


  Written by Flora Sun, Director at Binance Labs

  Today, Binance Labs would like to introduce our next Binance Fellow, Alexey Miroshkin (a.k.a. hashmap ), and
  his project Knockturn Allee Alexey is a Grin core developer and and a member of Grin council. He is also part
                                              .


  of a Berlin-based cypherpunk cooperative called Cycle42 The goal of Knockturn Allee is to increase the wide
                                                                                               .


  adoption of Grin by enabling merchants to accept Grin as a form of payment. As an open-source Grin payment
  processor, Knockturn Allee currently comes in two forms: API or WooCommerce/WordProcess plugin, which                                                                                                       First DeFi Project on Binance: The
  enables merchants to accept Grin as payment without requiring any technical skills.                                                                                                                         PancakeSwap Mini Program Bringing
                                                                                                                                                                                                              the CeFi and DeFi Ecosystem Together
  Alexey started his software engineering career in 1997, worked in a few startups in Russia, Canada, and the US,
  then joined IBM, where he worked as a software engineer, development manager and CTO of a laboratory in
  Moscow. Three years ago, Alexey moved to Berlin to join a fintech startup. Alexey started working on Grin in his
  spare time in early 2018, contributed to different parts of the project, became a core team member, co-
  organized the first Grin conference Grincon0 and the Grin Berlin meetup                                            .




  Before that, he contributed to a few open source projects - OpenStack, Cloud Foundry, Prometheus                                                                     in    addition
  to his project Klar (A client of vulnerability scanner for Docker images).
                                                                                                                                                                                                              Crypto Spot vs. Crypto Futures Trading
  Alexey has a masters degree                     in   Mathematics and          a   PhD    in      Computer Science. He                   is a   co-author of      4   US patents
                                                                                                                                                                                                              - What’s the difference?
  and several scientific papers.

  To learn more about Alexey and Knockturn Allee, here’s                                   a       Q&A that I did with them earlier:

  Flora: How you discovered Grin/MimbleWimble and what made you want to spend time working on                                                                          it?


  Hashmap: It’s started from a Pavol Rusnak (Trezor CTO) tweet (“Grin paper is the most beautiful cypherpunk
  stuff”) in October 2017, it got my attention. Then I went to the Real World Crypto conference in Zurich to
  attend Andrew Poelstra talk. I started learning Rust and was able to contribute in 1-2 months. I liked the
  elegance of the math, pure cypherpunk ideas behind the project and of course Rust.

  Flora: Grin has moved really fast and shipped a mainnet faster than most commercial projects out there. Can
  you talk about how the Grin developers are able to achieve that?

  Hashmap: Grin is a real open source project which is more than just code on GitHub, so it has access to a
  basically unlimited pool of highly motivated talents, while commercial projects are limited to its workforce. At
  the same time a paid team has its advantages, it can keep a more consistent pace and can move faster. It took
  more than 2 years to release Grin, so it wasn't an overnight success, but a sustainable process.

  Flora: Can you talk about the genesis of Knockturn Allee? What problem are you trying to solve?

  Hashmap: Grin is a form of money, so we need to be able to spend it. It means merchants need some tools to
  accept it. Grin requires an interactive transaction building, which brings some unique UX challenges. Also,
  privacy is a built-in feature of Grin and financial sovereignty is quite important. So the goal is to build a self-
  hosted payment processor which would not require any technical skills from merchants or buyers.

  Flora: Why do you call            it   Knockturn Allee?

  Hashmap: Knockturn Alley is a shopping area in Harry Potter world (Grin                                                is   highly influenced by that series of
  books), the word Allee is a tribute to Berlin when the project was born.

  Flora: Can you explain the significance of Knockturn Allee to Grin?

  Hashmap: It would help to support one of the roles money has                                          -   a   medium of exchange and enable Grin usage
  for less technical people.

  Flora: What        is   the main technical architecture of Knockturn Allee?

  Hashmap: There are            2   parts:

  1.Commerce platform plugins (Wordpress/WooCommerce, Shopify, etc.) installed on                                                                a   store side to provide
  seamless integration with the payment processor.

  2. The payment processor itself which could be installed on a small cloud instance or even co-located with a
  store. It’s a single Rust binary and Postgres database which works with a Grin node and a Grin wallet instance.
  It’s designed to be very scalable and fast.


  Flora: What were some design trade-offs you’ve made for Knockturn Allee?

  Hashmap: While it’s designed to have a minimal number of dependencies it’s still a multi-component system
  which requires some installation steps and maintenance. Our goal is to minimize it as much as we can.

  Flora: What are some features that took                       a lot       of longer than you planned and why?

  Hashmap: Web UI because of lack of UX expertise and poor CSS/HTML skills.

  Flora: What are some features that you made available initially and why?

  Hashmap: Only one e-store platform is supported at the moment, UI is very minimal, the focus was on the core
  use case to see how it works and then improve upon it based on users feedback.

  Flora: What are some features that you plan to work on and why?

  Hashmap: Platform plugins, UI, integration with different wallets and support of upcoming features in Grin like
  I2P. Last but not least we’d like to support donation use case which requires some additional functionality.

  Flora: You have made Knockturn Allee open source, what do you hope the developer community will use                                                                           it?


  Hashmap: The plugin ecosystem is a great fit with the open source model and requires very different skills.
  Also, we hope people will use it and see different ways to improve it.

  Flora: What kind of help would you like to see from the developer community for Knockturn Allee?

  Hashmap: Plugin development for different e-commerce platforms, UI work and of course Rust skills are
  welcome!

  Flora: What kind of help would you need from the non-developer community?

  Hashmap: Ideas on how we can improve UX, suggestions from users, educational materials (how-to’s) and of
  course people are welcome to use it and promote it.

  Flora: What do you hope to get out of the Binance Fellowship?

  Hashmap: More time to work on the project,                            a   chance to reach             a   larger audience, and also some business
  expertise.

  That’s it, folks! If you would like to check out Knockturn Allee and contributing to the codebase, you can visit
  the project Github page. Knockturn Allee is crowdfunding their project on Gitcoin and you can support the                           ,


  project along with us here              .




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